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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    COUNTY OF SANTA CLARA,                             ORDER GRANTING THE COUNTY OF
                                                       Plaintiff,                          SANTA CLARA'S AND CITY AND
                                   8                                                       COUNTY OF SAN FRANCISCO'S
                                                v.                                         MOTIONS TO ENJOIN SECTION 9(a)
                                   9                                                       OF EXECUTIVE ORDER 13768
                                  10    DONALD J. TRUMP, et al.,
                                                       Defendants.                         Case No. 17-cv-00574-WHO
                                  11

                                  12
Northern District of California




                                        CITY AND COUNTY OF SAN
 United States District Court




                                  13    FRANCISCO,
                                                       Plaintiff,
                                  14
                                                v.
                                  15
                                        DONALD J. TRUMP, et al.,                           Case No. 17-cv-00485-WHO
                                  16
                                                       Defendants.
                                  17

                                  18                                           INTRODUCTION

                                  19          This case involves Executive Order 13768, “Enhancing Public Safety in the Interior of the

                                  20   United States,” which, in addition to outlining a number of immigration enforcement policies,

                                  21   purports to “[e]nsure that jurisdictions that fail to comply with applicable Federal law do not

                                  22   receive Federal funds, except as mandated by law” and to establish a procedure whereby

                                  23   “sanctuary jurisdictions” shall be ineligible to receive federal grants. Executive Order 13768, 82

                                  24   Fed. Reg. 8799 (Jan. 25, 2017) (the “Executive Order”). In two related actions, the County of

                                  25   Santa Clara and the City and County of San Francisco have challenged Section 9 of the Executive

                                  26   Order as facially unconstitutional and have brought motions for preliminary injunction seeking to

                                  27   enjoin its enforcement. See County of Santa Clara v. Trump, No. 17-cv-0574-WHO; City and

                                  28   County of San Francisco v. Trump, 17-cv-0485-WHO.
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                                   1          The Counties challenge the enforcement provision of the Order, Section 9(a), on several

                                   2   grounds: first, it violates the separation of powers doctrine enshrined in the Constitution because it

                                   3   improperly seeks to wield congressional spending powers; second, it is so overbroad and coercive

                                   4   that even if the President had spending powers, the Order would clearly exceed them and violate

                                   5   the Tenth Amendment’s prohibition against commandeering local jurisdictions; third, it is so

                                   6   vague and standardless that it violates the Fifth Amendment’s Due Process Clause and is void for

                                   7   vagueness; and, finally, because it seeks to deprive local jurisdictions of congressionally allocated

                                   8   funds without any notice or opportunity to be heard, it violates the procedural due process

                                   9   requirements of the Fifth Amendment.1

                                  10          The Government does not respond to the Counties’ constitutional challenges but argues

                                  11   that the Counties lack standing because the Executive Order did not change existing law and

                                  12   because the Counties have not been named “sanctuary jurisdictions” pursuant to the Order. It
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                                  13   explained for the first time at oral argument that the Order is merely an exercise of the President’s

                                  14   “bully pulpit” to highlight a changed approach to immigration enforcement. Under this

                                  15   interpretation, Section 9(a) applies only to three federal grants in the Departments of Justice and

                                  16   Homeland Security that already have conditions requiring compliance with 8 U.S.C. 1373. This

                                  17   interpretation renders the Order toothless; the Government can already enforce these three grants

                                  18   by the terms of those grants and can enforce 8 U.S.C. 1373 to the extent legally possible under the

                                  19   terms of existing law. Counsel disavowed any right through the Order for the Government to

                                  20   affect any other part of the billions of dollars in federal funds the Counties receive every year.

                                  21          It is heartening that the Government’s lawyers recognize that the Order cannot do more

                                  22   constitutionally than enforce existing law. But Section 9(a), by its plain language, attempts to

                                  23

                                  24   1
                                        San Francisco also brings a facial challenge to 8 U.S.C. § 1373, arguing that the statute is
                                  25   unconstitutional under the Tenth Amendment because “the whole object” of that section is to
                                       “direct the functioning” of state governments. It seeks an injunction enjoining enforcement of
                                  26   Section 1373, or alternatively, because it believes it complies with Section 1373, an injunction
                                       preventing the Government from taking adverse action against it on the basis that it has failed to
                                  27   comply with that Section. Briefing on this issue was intermingled with the attack on the Executive
                                       Order, and did not adequately address the important issues raised. At the Case Management
                                  28   Conference on May 2, 2017, at 1:30 p.m. we will discuss litigation of this portion of the City’s
                                       case.
                                                                                         2
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                                   1   reach all federal grants, not merely the three mentioned at the hearing. The rest of the Order is

                                   2   broader still, addressing all federal funding. And if there was doubt about the scope of the Order,

                                   3   the President and Attorney General have erased it with their public comments. The President has

                                   4   called it “a weapon” to use against jurisdictions that disagree with his preferred policies of

                                   5   immigration enforcement, and his press secretary has reiterated that the President intends to ensure

                                   6   that “counties and other institutions that remain sanctuary cites don’t get federal government

                                   7   funding in compliance with the executive order.” The Attorney General has warned that

                                   8   jurisdictions that do not comply with Section 1373 would suffer “withholding grants, termination

                                   9   of grants, and disbarment or ineligibility for future grants,” and the “claw back” of any funds

                                  10   previously awarded. Section 9(a) is not reasonably susceptible to the new, narrow interpretation

                                  11   offered at the hearing.

                                  12          Although the Government’s new interpretation of the Order is not legally plausible, in
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                                  13   effect it appears to put the parties in general agreement regarding the Order’s constitutional

                                  14   limitations. The Constitution vests the spending powers in Congress, not the President, so the

                                  15   Order cannot constitutionally place new conditions on federal funds. Further, the Tenth

                                  16   Amendment requires that conditions on federal funds be unambiguous and timely made; that they

                                  17   bear some relation to the funds at issue; and that the total financial incentive not be coercive.

                                  18   Federal funding that bears no meaningful relationship to immigration enforcement cannot be

                                  19   threatened merely because a jurisdiction chooses an immigration enforcement strategy of which

                                  20   the President disapproves.

                                  21          To succeed in their motions, the Counties must show that they are likely to face immediate

                                  22   irreparable harm absent an injunction, that they are likely to succeed on the merits, and that the

                                  23   balance of harms and public interest weighs in their favor. The Counties have met this burden.

                                  24   They have demonstrated that they have standing to challenge the Order and are currently suffering

                                  25   irreparable harm, not only because the Order has caused and will cause them constitutional

                                  26   injuries by violating the separation of powers doctrine and depriving them of their Tenth and Fifth

                                  27   Amendment rights, but also because the Order has caused budget uncertainty by threatening to

                                  28   deprive the Counties of hundreds of millions of dollars in federal grants that support core services
                                                                                          3
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                                   1   in their jurisdictions. They have established that they are likely to succeed on the merits of their

                                   2   claims and that the balance of harms and public interest decisively weigh in favor of an injunction.

                                   3   The Counties’ motions for preliminary injunction against Section 9(a) of the Executive Order are

                                   4   GRANTED as further described below.

                                   5           That said, this injunction does nothing more than implement the effect of the

                                   6   Government’s flawed interpretation of the Order. It does not affect the ability of the Attorney

                                   7   General or the Secretary to enforce existing conditions of federal grants or 8 U.S.C. 1373, nor does

                                   8   it impact the Secretary’s ability to develop regulations or other guidance defining what a sanctuary

                                   9   jurisdiction is or designating a jurisdiction as such. It does prohibit the Government from

                                  10   exercising Section 9(a) in a way that violates the Constitution.

                                  11                                             BACKGROUND

                                  12   I.      THE EXECUTIVE ORDER
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                                  13           On January 25, 2017, President Donald J. Trump issued Executive Order 13768,

                                  14   “Enhancing Public Safety in the Interior of the United States.” See Harris Decl. ¶ 2; Ex. A (“EO”)

                                  15   (SC Dkt. No. 36-1). In outlining the Executive Order’s purpose, Section 1 reads, in part,

                                  16   “Sanctuary jurisdictions across the United States willfully violate Federal law in an attempt to

                                  17   shield aliens from removal from the United States.” EO §1. Section 2 states that the policy of the

                                  18   executive branch is to “[e]nsure that jurisdictions that fail to comply with applicable Federal law

                                  19   do not receive Federal funds, except as mandated by law.” EO §2(c).

                                  20           Section 9, titled “Sanctuary Jurisdictions” lays out this policy in more detail. It reads:

                                  21                  Sec. 9. Sanctuary Jurisdictions. It is the policy of the executive
                                                      branch to ensure, to the fullest extent of the law, that a State, or a
                                  22                  political subdivision of a State, shall comply with 8 U.S.C. 1373.
                                  23                  (a) In furtherance of this policy, the Attorney General and the
                                                      Secretary, in their discretion and to the extent consistent with law,
                                  24                  shall ensure that jurisdictions that willfully refuse to comply with 8
                                                      U.S.C. 1373 (sanctuary jurisdictions) are not eligible to receive
                                  25                  Federal grants, except as deemed necessary for law enforcement
                                                      purposes by the Attorney General or the Secretary. The Secretary
                                  26                  has the authority to designate, in his discretion and to the extent
                                                      consistent with law, a jurisdiction as a sanctuary jurisdiction. The
                                  27                  Attorney General shall take appropriate enforcement action against
                                                      any entity that violates 8 U.S.C. 1373, or which has in effect a
                                  28                  statute, policy, or practice that prevents or hinders the enforcement
                                                                                          4
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                                                       of Federal law.
                                   1
                                                       (b) To better inform the public regarding the public safety threats
                                   2                   associated with sanctuary jurisdictions, the Secretary shall utilize the
                                                       Declined Detainer Outcome Report or its equivalent and, on a
                                   3                   weekly basis, make public a comprehensive list of criminal actions
                                                       committed by aliens and any jurisdiction that ignored or otherwise
                                   4                   failed to honor any detainers with respect to such aliens.
                                   5                   (c) The Director of the Office of Management and Budget is
                                                       directed to obtain and provide relevant and responsive information
                                   6                   on all Federal grant money that currently is received by any
                                                       sanctuary jurisdiction.
                                   7
                                       EO §9.
                                   8
                                                Section 3 of the Order, titled “Definitions,” incorporates the definitions listed in 8 U.S.C. §
                                   9
                                       1101. EO §3. Section 1101 does not define “sanctuary jurisdiction.” The term is not defined
                                  10
                                       anywhere in the Executive Order. Similarly, neither section 1101 nor the Order defines what it
                                  11
                                       means for a jurisdiction to “willfully refuse to comply” with Section 1373 or for a policy to
                                  12
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                                       “prevent[] or hinder[] the enforcement of Federal law.” EO §9(a).
 United States District Court




                                  13
                                       II.      SECTION 1373
                                  14
                                                Section 1373, to which Section 9 refers, prohibits local governments from restricting
                                  15
                                       government officials or entities from communicating immigration status information to ICE. It
                                  16
                                       states in relevant part:
                                  17
                                                       (a) In General. Notwithstanding any other provision of Federal,
                                  18                   State, or local law, a Federal, State, or local government entity or
                                                       official may not prohibit, or in any way restrict, any government
                                  19                   entity or official from sending to, or receiving from, the Immigration
                                                       and Naturalization Service information regarding the citizenship or
                                  20                   immigration status, lawful or unlawful, of any individual.
                                  21                   (b) Additional Authority of Government Entities. Notwithstanding
                                                       any other provision of Federal, State, or local law, no person or
                                  22                   agency may prohibit, or in any way restrict, a Federal, State, or local
                                                       government entity from doing any of the following with respect to
                                  23                   information regarding the immigration status, lawful or unlawful, of
                                                       any individual:
                                  24
                                                                  (1) Sending such information to, or requesting or receiving
                                  25                              such information from, the Immigration and Naturalization
                                                                  Service.
                                  26
                                                                  (2) Maintaining such information.
                                  27
                                                                  (3) Exchanging such information with any other Federal,
                                  28                              State, or local government entity.
                                                                                           5
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                                   1   8 U.S.C. 1373.

                                   2          In July, 2016, the U.S. Department of Justice issued guidance linking two federal grant

                                   3   programs, the State Criminal Alien Assistance Program (“SCAAP”) and Edward Byrne Memorial

                                   4   Justice Assistance Grant (“JAG”) to compliance with Section 1373.2 This guidance states that all

                                   5   applicants for these two grant programs are required to “assure and certify compliance with all

                                   6   applicable federal statutes, including Section 1373, as well as all applicable federal regulations,

                                   7   policies, guidelines, and requirements.” Id. The Department has indicated that the Community

                                   8   Oriented Policing Services Grant (COPS) is also conditioned on compliance with Section 1373.

                                   9   III.   CIVIL DETAINER REQUESTS
                                  10          An ICE civil detainer request asks a local law enforcement agency to continue to hold an

                                  11   inmate who is in local jail because of actual or suspected violations of state criminal laws for up to

                                  12   48 hours after his or her scheduled release so that ICE can determine if it wants to take that
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                                  13   individual into custody. See 8 C.F.R. § 287.7; Neusel Decl. ¶9; Marquez Decl., Ex. C at 3 (SC

                                  14   Dkt. No. 29-3). ICE civil detainer requests are voluntary and local governments are not required

                                  15   to honor them. See 8 C.F.R. § 287.7(a); Galarza v. Szalczyk, 745 F.3d 634, 643 (3d Cir. 2014)

                                  16   (“[S]ettled constitutional law clearly establishes that [immigration detainers] must be deemed

                                  17   requests” because any other interpretation would render them unconstitutional under the Tenth

                                  18   Amendment). Several courts have held that it is a violation of the Fourth Amendment for local

                                  19   jurisdictions to hold suspected or actual removable aliens subject to civil detainer requests because

                                  20   civil detainer requests are often not supported by an individualized determination of probable

                                  21   cause that a crime has been committed. See Morales v. Chadbourne, 793 F.3d 208, 215-217 (1st

                                  22   Cir. 2015); Miranda-Olivares v. Clackamas Cnty., No. 3:12-cv-02317-ST, 2014 WL 1414305, at

                                  23   *9-11 (D. Or. Apr. 11, 2014). ICE does not reimburse local jurisdictions for the cost of detaining

                                  24   individuals in response to a civil detainer request and does not indemnify local jurisdictions for

                                  25
                                       2
                                  26     See Letter from Peter J. Kadzik, Asst. Att’y Gen. U.S. Dep’t of Justice, to Hon John A.
                                       Culberson, Chairman of the Subcomm. On Commerce, Justice, Sci & Related Agencies, (Jul. 7,
                                  27   2016), http://culberson.house.gov/uploadedfiles/2016-7-7_section_1373-
                                       _doj_letter_to_culberson.pdf. I take judicial notice of Peter Kadzik’s letter as courts may
                                  28   judicially notice information and official documents contained on official government websites.
                                       See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998-999 (9th Cir. 2010).
                                                                                         6
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                                   1   potential liability they could face for related Fourth Amendment violations. See 8 C.F.R. §

                                   2   287.7(e); Marquez Decl. ¶¶ 21-15 & Exs. B-D.

                                   3   IV.     THE COUNTIES’ POLICIES
                                   4           A.     Santa Clara’s Policies
                                   5           Santa Clara asserts that its local policies and practices with regard to federal immigration

                                   6   enforcement are at odds with the Executive Order’s provisions regarding Section 1373. SC Mot.

                                   7   at 5. (SC Dkt. No. 26). In 2010, the Santa Clara County Board of Supervisors adopted a

                                   8   Resolution prohibiting Santa Clara employees from using County resources to transmit any

                                   9   information to ICE that was collected in the course of providing critical services or benefits.

                                  10   Marquez Decl. ¶27 (SC Dkt. No. 29) & Ex. G (SC Dkt. No. 29-7); Neusel Decl. ¶7 (SC Dkt. No.

                                  11   31); L. Smith Decl. ¶6 (SC Dkt. No. 35). The Resolution also prohibits employees from initiating

                                  12   an inquiry or enforcement action based solely on the individual’s actual or suspected immigration
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                                  13   status, national origin, race or ethnicity, or English-speaking ability, or from using County

                                  14   resources to pursue an individual solely because of an actual or suspected violation of immigration

                                  15   law. Id. In October, 2016, after receiving DOJ guidance that JAG and SCAAP funds would be

                                  16   conditioned on compliance with Section 1373, Santa Clara decided not to participate in those

                                  17   programs. Marquez Decl. ¶ 29 & Ex. H (SC Dkt. No. 29-8).

                                  18           Santa Clara also asserts that its policies with regard to ICE civil detainer requests are

                                  19   inconsistent with the Executive Order and the President’s stated immigration enforcement agenda.

                                  20   Prior to late 2011, Santa Clara responded to and honored ICE civil detainer requests, housing an

                                  21   average of 135 additional inmates each day at a daily cost of approximately $159 per inmate.

                                  22   Neusel Decl. ¶4. When the County raised concerns about the costs associated with complying

                                  23   with detainer requests and potential civil liability, ICE confirmed that it would not reimburse the

                                  24   County or indemnify it for the associated costs and liabilities. Marquez Decl. ¶¶ 21-15 & Exs. B-

                                  25   D.

                                  26           Santa Clara subsequently convened a task force and adopted a new policy where the

                                  27   County agreed to honor requests for individuals with serious or violent felony convictions, but

                                  28   only if ICE would reimburse the County for the cost of holding those individuals. Neusel Decl.
                                                                                          7
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                                   1   ¶6; Marquez Decl. ¶26 & Ex. E. ICE has never agreed to reimburse the County for any costs, so

                                   2   since November 2011 the County has declined to honor all ICE detainer requests. Id.

                                   3          B.      San Francisco’s Policies
                                   4          San Francisco’s sanctuary city policies are contained in Chapters 12H and 12I of its

                                   5   Administrative Code. Eisenberg Decl. Exs. A-B (SF Dkt. No. 28). The stated purpose of these

                                   6   laws is “to foster respect and trust between law enforcement and residents, to protect limited local

                                   7   resources, to encourage cooperation between residents and City officials, including especially law

                                   8   enforcement and public health officers and employees, and to ensure community security, and due

                                   9   process for all.” S.F. Admin Code § 12I.1.

                                  10          As relevant to Section 1373, Chapter 12H prohibits San Francisco departments, agencies,

                                  11   commissions, officers, and employees from using San Francisco funds or resources to assist in

                                  12   enforcing federal immigration law or gathering or disseminating information regarding an
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                                  13   individual’s release status, or other confidential identifying information (which as defined does not

                                  14   include immigration status), unless such assistance is required by federal or state law. S.F. Admin

                                  15   Code § 12H.2. Although Chapter 12H previously prohibited city employees from sharing

                                  16   information regarding individuals’ immigration status, the San Francisco Board of Supervisors

                                  17   removed this restriction in July, 2016, due to concerns that the provision violated Section 1373.

                                  18          With regard to civil detainer requests, Chapter 12I prohibits San Francisco law

                                  19   enforcement from detaining an individual, otherwise eligible for release from custody, solely on

                                  20   the basis of a civil immigration detainer request. S.F. Admin Code § 12I.3. It also prohibits local

                                  21   law enforcement from providing ICE with advanced notice that an individual will be released from

                                  22   custody, unless the individual meets certain criteria. S.F. Admin Code § 12I.3. Chapter 12I.3.(e)

                                  23   provides that a “[l]aw enforcement official shall not arrest or detain an individual, or provide any

                                  24   individual’s personal information to a federal immigration officer, on the basis of an

                                  25   administrative warrant, prior deportation order, or other civil immigration document based solely

                                  26   on alleged violations of the civil provisions of immigration laws.” S.F. Admin Code § 12I.3.(e).

                                  27   San Francisco explains that it adopted these policies due to concerns that holding people in

                                  28   response to civil detainers would violate the Fourth Amendment and require it to dedicate scarce
                                                                                         8
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                                   1   law enforcement personnel and resources to holding these individuals. Hennessy Decl. ¶11 (SF

                                   2   Dkt. No. 24).

                                   3   V.      THE COUNTIES’ FEDERAL FUNDING
                                   4           A.      Santa Clara’s Federal Funding
                                   5           In the 2015-2016 fiscal year, Santa Clara received approximately $1.7 billion in federal

                                   6   and federally dependent funds, making up roughly 35% of the County’s total revenues. J. Smith

                                   7   Decl. ¶6; Marquez Decl. ¶8. This figure includes federal funds provided through entitlement

                                   8   programs.

                                   9           Most of the County’s federal funds are used to provide essential services to its residents.

                                  10   Marquez Decl. ¶¶ 5-8. In support of its motion, the County includes a number of declarations

                                  11   outlining how a loss of any substantial amount of federal funding would force it to make

                                  12   substantial cut backs to safety-net programs and essential services and would require it to lay off
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                                  13   thousands of employees. It highlights that the County’s Valley Medical Center, the only public

                                  14   safety-net healthcare provider in the County, relies on $1 billion in federal funds each year, which

                                  15   covers up to 70% of its total annual costs. Lorenz Decl. ¶¶ 3, 7 (SC Dkt. No. 28). A loss of all

                                  16   federal funds would shut down Valley Medical Center and cut off the only healthcare option for

                                  17   thousands of poor, elderly, and vulnerable people in the County. Id. ¶ 8. It further highlights that

                                  18   Santa Clara’s Social Services Agency, which provides various services to vulnerable residents,

                                  19   including child welfare and protection, aid to needy families, and support for disabled children,

                                  20   adults and the elderly, receives roughly 40% of its budget, $300 million, from federal funds.

                                  21   Menicocci Decl. ¶5 (SC Dkt. No. 30). The County’s Public Health Department receives 40% of

                                  22   its budget and $38 million in federal funds. And the County’s Office of Emergency Services,

                                  23   whose job is to prepare for and respond to disasters such as earthquakes and terrorism, receives

                                  24   more than two-thirds of its budget from federal funds. Reed Decl. ¶¶ 3-20 (SC Dkt. No. 32).

                                  25           In the 2014-2015 fiscal year, the County received over $565 million in non-entitlement

                                  26   federal grants. See Marquez Decl. Ex. A at 11-12 (SC Dkt. No. 29-1) (showing $338 million in

                                  27   federal grants subject to OMB auditing requirements and an additional $227 million in federal

                                  28   grants through the Department of Housing and Urban Development). This $565 million
                                                                                         9
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                                   1   represents approximately 11% of the County’s budget.

                                   2          B.      San Francisco’s Federal Funding
                                   3          San Francisco’s yearly budget is approximately $9.6 billion; it receives approximately $1.2

                                   4   billion of this from the federal government. Rosenfield Decl. ¶9 (SF Dkt. No. 22). San Francisco

                                   5   uses these federal funds to provide vital services such as medical care, social services, and meals

                                   6   to vulnerable residents, to maintain and upgrade roads and public transportation, and to make

                                   7   needed seismic upgrades. Whitehouse Decl. ¶16 (SF Dkt. No. 23). Losing all, or a substantial

                                   8   amount, of federal funds would have significant effects on core San Francisco programs: federal

                                   9   funds make up 100% of Medicare for San Francisco residents, Rosenfield Decl. ¶ 29; 30% of the

                                  10   budget for San Francisco’s Department of Emergency Management, id. ¶¶25-27; 33% of the

                                  11   budget for San Francisco’s Human Services Agency, id. ¶¶13-18; and 40% of the budget for San

                                  12   Francisco’s Department of Public Health, id. ¶¶19-24.
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                                  13          Approximately 20% of these federal funds, or $240 million, are from federal grants. Id.

                                  14   ¶29. San Francisco also receives $800 million each year in federal multi-year grants, primarily for

                                  15   public infrastructure projects. Id. ¶11.

                                  16          San Francisco must adopt a balanced budget for the fiscal year beginning July 1, 2017.

                                  17   Whitehouse Decl. ¶16. Under local law, the Mayor must submit a balanced budget to the Board of

                                  18   Supervisors by June 1 and make fundamental budget decisions by May 15, including whether to

                                  19   create a budget reserve to account for the potential loss of significant funds. Id. ¶5-6, 8. Any

                                  20   money placed in the budget reserve would not be available to be used for other programs or

                                  21   services in the coming fiscal year. Id. ¶9.

                                  22                                           LEGAL STANDARD

                                  23          “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

                                  24   the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

                                  25   balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.

                                  26   Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). This has been interpreted as a four-part

                                  27   conjunctive test, not a four-factor balancing test. However, the Ninth Circuit has held that a

                                  28   plaintiff may also obtain an injunction if he has demonstrated “serious questions going to the
                                                                                          10
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                                   1   merits” that the balance of hardships “tips sharply” in his favor, that he is likely to suffer

                                   2   irreparable harm, and that an injunction is in the public interest. See Alliance for the Wild Rockies

                                   3   v. Cottrell, 632 F.3d 1127, 1131-35 (9th Cir. 2011).

                                   4                                                DISCUSSION

                                   5   I.       JUSTICIABILITY
                                   6            The Government argues that the Counties’ claims against the Executive Order are not

                                   7   justiciable because the Counties cannot establish an injury-in-fact, which is necessary to establish

                                   8   standing, and because their claims are not ripe for review. These principles of standing and

                                   9   ripeness go to whether this court has jurisdiction to hear the Counties’ claims. I conclude that the

                                  10   Counties have demonstrated Article III standing to challenge the Executive Order and that their

                                  11   claims are ripe for review.

                                  12            A.      Standing
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                                  13            Article III, section 2 of the Constitution limits the jurisdiction of the federal courts to

                                  14   “Cases” and “Controversies.” Massachusetts v. EPA, 549 U.S. 497, 516 (2007); see U.S. Const.

                                  15   art. III, §, cl. 1. “Standing is an essential and unchanging part of the case-or-controversy

                                  16   requirement.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). To establish standing a

                                  17   plaintiff must demonstrate “that it has suffered a concrete and particularized injury that is either

                                  18   actual or imminent, that the injury is fairly traceable to the defendant, and that it is likely that a

                                  19   favorable decision will redress that injury.” Massachusetts, 549 U.S. at 517 (citing Lujan, 504

                                  20   U.S. at 560-61).

                                  21            The Counties contend that they have standing to challenge the Executive Order because the

                                  22   Order threatens to defund, or otherwise bring enforcement action against, states and local

                                  23   jurisdictions that are “sanctuary jurisdictions.” Although the Order does not clearly define

                                  24   “sanctuary jurisdictions,” it directs the Attorney General and Secretary to ensure that jurisdictions

                                  25   that “willfully refuse to comply with 8 U.S.C. 1373 (sanctuary jurisdictions) are not eligible to

                                  26   receive Federal grants” and elsewhere equates jurisdictions that refuse to honor detainer requests

                                  27   with the term “sanctuary jurisdictions.” It further directs the Attorney General to bring

                                  28   “enforcement action” against jurisdictions with policies that “hinder[] the enforcement of Federal
                                                                                           11
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                                   1   law.”

                                   2           The Counties represent that they have “sanctuary policies” that are likely to subject them to

                                   3   enforcement or defunding under the Order. They assert that enforcement under the Order would

                                   4   result in injury-in-fact in the form of cuts to federal funds and whatever other penalty the

                                   5   Government seeks to impose through its “enforcement action.” As a result of this threat of major

                                   6   cuts to federal funding, the Order is also causing present injury-in-fact in the form of budget

                                   7   uncertainty. Alternatively, attempting to comply with the Order would also cause injury, as it

                                   8   would require them to change their local policies in ways that conflict with their local judgment on

                                   9   how best to ensure public safety and require them to commit substantial resources to assist in

                                  10   enforcing federal immigration laws.

                                  11           The Government raises two primary arguments against the Counties’ claims of standing.

                                  12   First, it asserts that the Counties cannot demonstrate injury-in-fact traceable to the Executive
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                                  13   Order because the Order does not change the law in any way, but merely directs the Attorney

                                  14   General and Secretary to enforce existing law. Second, it argues that the Counties’ claims of

                                  15   injury are not sufficiently “concrete” or “imminent” because the Government has not designated

                                  16   either County as a “sanctuary jurisdiction” and has not withheld any federal funds. I will address

                                  17   these arguments in turn.

                                  18                  1.      Whether the Executive Order Changes the Law
                                  19           The Government’s primary defense is that the Order does not change the law, but merely

                                  20   directs the Attorney General and Secretary to enforce existing law. In its briefing, the

                                  21   Government emphasized Section 9(a)’s provision that it will be implemented “to the extent

                                  22   consistent with law.” It argued that to the extent the Order directs the Attorney General and

                                  23   Secretary to newly condition federal funds on compliance with Section 1373, it could not lawfully

                                  24   do so and so it does not. It asserted, “If the grant language does not require compliance with

                                  25   Section 1373, the Executive Order does not purport to give the Secretary or Attorney General the

                                  26   unilateral authority to alter those terms.” SC Oppo. at 13. By this interpretation, Section 9 simply

                                  27   directs the Attorney General and Secretary to ensure that grants that are already conditioned on

                                  28   compliance with Section 1373 are not remitted to jurisdictions that fail to meet that requirement.
                                                                                        12
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                                   1   At the hearing, the Government went further and explicitly disclaimed the ability under the

                                   2   Executive Order to add conditions to grants authorized by Congress or to enforce the Order

                                   3   against any but three grant programs, SCAAP, JAG and COPS. Government counsel urged me to

                                   4   adopt this narrow reading of the Order, arguing that well-established rules of construction require

                                   5   courts to adopt narrow readings when broader ones would read in constitutional problems.

                                   6           Where a construction of a statute “would raise serious constitutional problems, the Court

                                   7   will construe the statute to avoid such problems unless such construction is plainly contrary to the

                                   8   intent of Congress.” Edward J. DeBartolo Corp. v. Florida Gulf Coast Bldg. & Const. Trades

                                   9   Council, 485 U.S. 568, 575 (1988).3 “[A]s between two possible interpretations of a statute, by

                                  10   one of which it would be unconstitutional and by the other valid, our plain duty is to adopt that

                                  11   which will save the Act.” Blodgett v. Holden, 275 U.S. 142, 148 (1927). The primary purpose of

                                  12   the doctrine is to “minimize disagreement between the branches by preserving congressional
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                                  13   enactments that might otherwise founder on constitutional objections.” Almendarez-Torres v.

                                  14   U.S., 523 U.S. 224, 238 (1998).

                                  15           “This canon is followed out of respect for Congress, which we assume legislates in the

                                  16   light of constitutional limitations.” Rust v. Sullivan, 500 U.S. 173, 191 (1991). This canon of

                                  17   construction is limited; to adopt an alternate construction the statute must be “readily susceptible”

                                  18   to that construction. United States ex rel. Attorney General v. Delaware & Hudson Co., 213 U.S.

                                  19   366, 409 (1909). It is not the job of the courts “to insert missing terms into the statute or adopt an

                                  20   interpretation precluded by [its] plain language.” Foti v. City of Menlo Park, 146 F.3d 629, 639

                                  21   (9th Cir. 1998).

                                  22           As a preliminary matter, a narrow construction does not limit a plaintiffs’ standing to

                                  23   challenge a law that is subject to multiple interpretations. See Virginia v. American Booksellers

                                  24   Ass’n, Inc., 484 U.S. 383, 392 (1988) (noting that a plaintiff’s standing may be based on its

                                  25   interpretation of the statute even when a narrower interpretation is offered). Therefore, the

                                  26
                                       3
                                  27    The Supreme Court has declined to apply this canon of construction to agency actions and it is
                                       unclear that it would apply to an Executive Order. F.C.C. v. Fox Television Stations, Inc., 556
                                  28   U.S. 502, 516 (2009) (“We know of no precedent for applying [the canon of constitutional
                                       avoidance] to limit the scope of an authorized executive action.”).
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                                   1   Government’s proposed narrow construction does not destroy justiciability.

                                   2          With regards to the merits of the Government’s construction, the Order is not readily

                                   3   susceptible to the Government’s narrow interpretation. Indeed, “[t]o read [the Order] as the

                                   4   Government desires requires rewriting, not just reinterpretation.” U.S. v. Stevens, 559 U.S. 460,

                                   5   481 (2010).

                                   6          While the Government urges that the Order “does not purport to give the Secretary or

                                   7   Attorney General the unilateral authority” to impose new conditions on federal grants, that is

                                   8   exactly what the Order purports to do. It directs the Attorney General and the Secretary to ensure

                                   9   that “sanctuary jurisdictions” are “not eligible to receive” federal grants. EO §9(a)(emphasis

                                  10   added). Whether a jurisdiction is eligible to receive federal grants is determined by the conditions

                                  11   on those grants and the characteristics, acts, and choices of the jurisdiction. See BLACK’S LAW

                                  12   DICTIONARY 634 (10th ed. 2014) (defining “eligible” as “Fit and proper to be selected or to
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                                  13   receive a benefit.”). Section 9(a)’s language directing the Attorney General and Secretary to

                                  14   ensure that jurisdictions that “willfully refuse to comply” with Section 1373 are “not eligible” for

                                  15   federal grants therefore purports to delegate to the Attorney General and the Secretary the

                                  16   authority to place a new condition on federal grants, compliance with Section 1373. And as

                                  17   Government counsel agreed at the hearing, the power to place conditions on funds belongs

                                  18   exclusively to Congress.

                                  19          The Government attempts to read out all of Section 9(a)’s unconstitutional directives to

                                  20   render it an ominous, misleading, and ultimately toothless threat. It urges that Section 9(a) can be

                                  21   saved by reading the defunding provision narrowly and “consistent with law,” so that all it does is

                                  22   direct the Attorney General and Secretary to enforce existing grant conditions. But this

                                  23   interpretation is in conflict with the Order’s express language and is plainly not what the Order

                                  24   says. The defunding provision is entirely inconsistent with law in its stated purpose and directives

                                  25   because it instructs the Attorney General and the Secretary to do something that only Congress has

                                  26   the authority to do–place new conditions on federal funds. If Section 9(a) does not direct the

                                  27   Attorney General and Secretary to place new conditions on federal funds then it only authorizes

                                  28   them to do something they already have the power to do, enforce existing grant requirements.
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                                   1   Effectively, the Government argues that Section 9(a) is “valid” and does not raise constitutional

                                   2   issues as long as it does nothing at all. But a construction so narrow that it renders a legal action

                                   3   legally meaningless cannot possibly be reasonable and is clearly inconsistent with the Order’s

                                   4   broad intent.

                                   5          At the hearing, Government counsel argued that the Order applies only to grants issued by

                                   6   the Department of Justice and the Department of Homeland Security because it is directed only at

                                   7   the Attorney General and Secretary of Homeland Security. This reading is similarly implausible.

                                   8   Nothing in Section 9(a) limits the “Federal grants” affected to those only given though the

                                   9   Departments of Justice and Homeland Security. The Department of Justice is responsible for

                                  10   federal law enforcement throughout the country, not just within its own Department. So when the

                                  11   Attorney General is directed to “ensure that jurisdictions that willfully refuse to comply with 8

                                  12   U.S.C. 1373 (sanctuary jurisdictions) are not eligible to receive Federal grants, except as deemed
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                                  13   necessary for law enforcement purposes by the Attorney General or the Secretary” and to “take

                                  14   appropriate enforcement action against any entity that violates 8 U.S.C. 1373, or which has in

                                  15   effect a statute, policy, or practice that prevents or hinders the enforcement of Federal law,” it is

                                  16   not reasonable to interpret the directive as applying solely to law enforcement grants that the

                                  17   Attorney General and Secretary are specifically given authority to exempt from the Order.

                                  18          Nor is counsel’s narrow interpretation supported by the rest of the Order. Two examples

                                  19   suffice. Section 9(c) instructs the Director of the Office of Management and Budget “to obtain

                                  20   and provide relevant and responsive information on all Federal grant money that currently is

                                  21   received by any sanctuary jurisdiction.” This directive is not limited to grants issued by the

                                  22   Departments of Justice and Homeland Security. And Section 2(c) announces a policy to “ensure

                                  23   that jurisdictions that fail to comply with applicable Federal law do not receive Federal funds,

                                  24   except as mandated by law.” The Order’s structure and language make clear that a “sanctuary

                                  25   jurisdiction,” which the Secretary will eventually define, should change its policies or risk loss of

                                  26   all federal grants, and Section 9(a) provides the means to do so.

                                  27          The purpose of adopting a plausible valid construction over one that would result in

                                  28   constitutional issues is to save an Act that would otherwise fall on constitutional grounds. A
                                                                                         15
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                                   1   construction so narrow that it reads out any legal force does not save the Act and obviates the

                                   2   entire purpose of adopting a narrow reading. At the hearing, Government counsel explained that

                                   3   the Order is an example of the President’s use of the bully pulpit and, even if read narrowly to

                                   4   have no legal effect, serves the purpose of highlighting the President’s focus on immigration

                                   5   enforcement. While the President is entitled to highlight his policy priorities, an Executive Order

                                   6   carries the force of law. Adopting the Government’s proposed reading would transform an Order

                                   7   that purports to create real legal obligations into a mere policy statement and would work to

                                   8   mislead individuals who are not able to conclude, by reading Section 9(a) itself, that it is fully self-

                                   9   cancelling and carries no legal weight.

                                  10          The Supreme Court has acknowledged that applying a narrow construction to an

                                  11   unconstitutionally overbroad statute does not address the confusion and potential deterrent effect

                                  12   caused by the language of the law itself. See, Erznoznik v. City of Jacksonville, 422 U.S. 205, 216
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                                  13   (1975) (concluding, in a First Amendment case, that a narrow construction of an overbroad statute

                                  14   was likely inappropriate because the “deterrent effect on legitimate expression is both real and

                                  15   substantial.”). As discussed below, the coercive effects of the Order’s broad language counsel

                                  16   against adopting a narrow construction that deprives it of any legal meaning.

                                  17          The Government’s construction is not reasonable. It requires a complete rewriting of the

                                  18   Order’s language and does not “save” any part of Section 9(a)’s legal effect. There is no doubt

                                  19   that Section 9(a), as written, changes the law.

                                  20                  2.      Pre-enforcement Standing
                                  21          The Counties argue that they have standing to challenge the Executive Order because they

                                  22   have demonstrated a well-founded belief that the Order will be enforced against them. In turn, the

                                  23   Government argues that the Counties lack standing because the Government has not yet

                                  24   designated the Counties as “sanctuary jurisdictions” or withheld funds.

                                  25          Because the Counties have not yet suffered a loss of funds or other enforcement action

                                  26   under the Executive Order, this case is analogous to the many cases addressing pre-enforcement

                                  27   standing. These cases establish that a plaintiff may demonstrate pre-enforcement standing by

                                  28   showing “an intention to engage in a course of conduct arguably affected with a constitutional
                                                                                         16
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                                   1   interest, but proscribed by a statute, and there exists a credible threat of prosecution thereunder.”

                                   2   Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979); see Steffel v. Thompson, 415 U.S. 452, 459

                                   3   (1974) (“[I]t is not necessary that petitioner first expose himself to actual arrest or prosecution to

                                   4   be entitled to challenge a statute that he claims deters the exercise of his constitutional rights”);

                                   5   Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2342 (2014) (plaintiffs can demonstrate

                                   6   standing by alleging “a credible threat of enforcement”); American Booksellers, 484 U.S. at 392

                                   7   (plaintiffs can establish standing by demonstrating a “well-founded fear that the law will be

                                   8   enforced against them.”).

                                   9          At the hearing, the Government suggested that pre-enforcement review is generally only

                                  10   available when there are criminal penalties or First Amendment issues at stake. While pre-

                                  11   enforcement cases often fall into these categories, pre-enforcement review is not so limited. In a

                                  12   pre-enforcement case, just like any other case, courts are limited by “the primary conception that
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                                  13   federal judicial power is to be exercised . . . only at the instance of one who is himself immediately

                                  14   harmed, or immediately threatened with harm, by the challenged action.” Poe v. Ullman, 367 U.S.

                                  15   497, 504 (1961). The Court has repeatedly recognized that “where threatened action by

                                  16   government is concerned, we do not require a plaintiff to expose himself to liability before

                                  17   bringing suit to challenge the basis for the threat – for example, the constitutionality of a law

                                  18   threatened to be enforced.” MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 129 (2007).

                                  19   When a threatened injury has not yet been felt, “the question becomes whether any perceived

                                  20   threat to respondents is sufficiently real and immediate to show an existing controversy” O’Shea v.

                                  21   Littleton, 414 U.S. 488, 496 (1974), or whether it is merely “imaginary or speculative,” Younger v.

                                  22   Harris, 401 U.S. 37, 42 (1971).

                                  23          The pre-enforcement line of cases outlines a framework for answering this question in the

                                  24   context of threatened civil or criminal enforcement action. Just as Article III standing is not

                                  25   reserved for individuals who have suffered criminal penalties or First Amendment restrictions,

                                  26   pre-enforcement review is not reserved for such individuals. See e.g. Terrace v. Thompson, 263

                                  27   U.S. 197, 214 (1923) (noting that a plaintiff has standing to enjoin a law when the government

                                  28   “threatens and is about to commence proceedings, either civil or criminal, to enforce such a law
                                                                                          17
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                                   1   against parties affected”); Village of Euclid v. Ambler Realty Co., 272 U.S. 365, 386 (1926)

                                   2   (holding that a landowner bringing Fourteenth Amendment claims and facing only civil penalties

                                   3   had pre-enforcement standing).

                                   4          Many of the pre-enforcement cases recognize that First Amendment challenges raise an

                                   5   additional consideration for standing purposes because a statute restricting First Amendment rights

                                   6   may cause harm without any enforcement by “chilling speech.” See American Booksellers, at 393

                                   7   (“[T]he alleged danger of this statute is, in large measure, one of self-censorship; a harm that can

                                   8   be realized even without an actual prosecution.”). While this “chilling” effect is particularly

                                   9   important in the First Amendment context, analogous concerns have been recognized in other

                                  10   situations. For example, that a threat of legal action may coerce individuals to abandon their legal

                                  11   rights is well recognized outside of First Amendment restrictions and was one of the driving

                                  12   factors behind the creation of the Declaratory Judgment Act. See MedImmune, 549 U.S. at 129
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                                  13   (“The dilemma posed by that coercion—putting the challenger to the choice between abandoning

                                  14   his rights or risking prosecution—is a dilemma that it was the very purpose of the Declaratory

                                  15   Judgment Act to ameliorate.”). And courts have recognized that, outside the First Amendment

                                  16   context, a law’s threat of enforcement may, on its own, cause present injury. See Village of

                                  17   Euclid, 272 U.S. at 386. In Village of Euclid, the Court considered whether a landowner had pre-

                                  18   enforcement standing to challenge a local zoning ordinance that it alleged had drastically reduced

                                  19   the market value of a particular piece of property by limiting its use and threatening to impose

                                  20   penalties for zoning violations. Id. at 384. Although the landowner had not faced any

                                  21   enforcement under the ordinance, the Court concluded the claims were justiciable because “injury

                                  22   is inflicted by the mere existence and threatened enforcement of the ordinance” as “prospective

                                  23   buyers . . . are deterred from buying any part of this land.” Id. 384-385.

                                  24          In sum, the pre-enforcement cases reveal that an individual facing enforcement action may

                                  25   establish standing by demonstrating a well-founded fear of enforcement and a threatened injury

                                  26   that is “sufficiently real and imminent.” O’Shea, 414 U.S. at 496. One may also establish

                                  27   standing by demonstrating that a well-founded fear of enforcement action is itself causing present

                                  28   injury. See American Booksellers, at 393; Village of Euclid, 272 U.S. at 385.
                                                                                        18
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                                   1          As I discuss below, review of the Counties’ allegations demonstrates that they have a well-

                                   2   founded fear of enforcement under the Executive Order. They have further demonstrated that

                                   3   enforcement under the Order would deprive them of federal grants that they use to provide critical

                                   4   services to their residents and that the “mere existence and threatened enforcement” of the Order is

                                   5   causing them present injury in the form of budget uncertainty. They have demonstrated Article III

                                   6   standing to challenge the Order.

                                   7                          a.      The Counties’ policies are proscribed by the language of the
                                                                      Executive Order
                                   8
                                              Where it is not fully clear what conduct is proscribed by a statute, a well-founded fear of
                                   9
                                       enforcement may be based in part on a plaintiff’s reasonable interpretation of what conduct is
                                  10
                                       proscribed. See American Booksellers, 484 U.S. at 392. This is true even if a narrower reading of
                                  11
                                       the statute may be available. Id. at 397.
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                                              In American Booksellers, the Supreme Court concluded that a group of booksellers had
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                                  13
                                       standing to challenge a Virginia law that made it unlawful for any person to “knowingly display
                                  14
                                       for commercial purpose” visual or written material depicting sexual conduct “which is harmful to
                                  15
                                       juveniles.” Id. at 386 (citing Va. Code § 18.2-391(a) (Supp. 1987)). The booksellers challenged
                                  16
                                       the statute on First Amendment grounds and alleged that they had standing because they had
                                  17
                                       identified 16 books that they intended to display and that they believed would be covered by the
                                  18
                                       statute. Id. Even though the statute had not been made effective and the State had not identified
                                  19
                                       specific materials that would be implicated by the statute, the Court concluded that this was
                                  20
                                       sufficient to establish Article III standing because “the law is aimed directly at plaintiffs, who, if
                                  21
                                       their interpretation of the statute is correct, will have to take significant and costly compliance
                                  22
                                       measures or risk criminal prosecution.” Id. at 392. Further, while the government put forward a
                                  23
                                       narrow construction of the law that would have made the burden to booksellers and the public
                                  24
                                       “significantly less than that feared and asserted by plaintiffs,” the Court did not consider this
                                  25
                                       construction in assessing the plaintiffs’ standing. Id. at 397.
                                  26
                                              The Counties’ policies are likely to subject them to enforcement given their reasonable
                                  27
                                       interpretation of what conduct and policies the Order purports to proscribe. Section 9(a) of the
                                  28
                                                                                          19
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                                   1   Executive Order directs the Attorney General and the Secretary to “ensure” that “sanctuary

                                   2   jurisdictions” are “not eligible to receive Federal grants.” EO §9(a). The Counties acknowledge

                                   3   that the Executive Order does not clearly define “sanctuary jurisdictions” but note that the Order’s

                                   4   language indicates that a “sanctuary jurisdiction” is, at a minimum, any jurisdiction that “willfully

                                   5   refuse[s] to comply with 8 U.S.C. 1373.” The Government has not clarified what it means to

                                   6   “willfully refuse to comply” with Section 1373, and indeed argues that the Counties lack standing

                                   7   because the Attorney General and Secretary of Homeland Security have not yet figured that out.

                                   8   SC Oppo. at 11 (“[T]he Attorney General and the Secretary of Homeland Security must determine

                                   9   exactly what constitutes ‘willful refusal to comply with 8 U.S.C. § 1373’”). Despite this, on

                                  10   March 27, 2017, Attorney General Sessions “urg[ed] states and local jurisdictions to comply with

                                  11   these federal laws, including 8 U.S.C. Section 1373” and confirmed that “failure to remedy

                                  12   violations could result in withholding grants, termination of grants, and disbarment or ineligibility
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                                  13   for future grants.” See RJN-2, Ex. D (“Sessions Press Conference”) (SF Dkt. No. 61-4).4

                                  14           The Attorney General also stated that this policy was “entirely consistent with the

                                  15   Department of Justice’s Office of Justice Program’s guidance that was issued just last summer

                                  16   under the previous government.” Id. In the process of developing that guidance, the Inspector

                                  17   General of the Department of Justice, Michael Horowitz, prepared a memorandum entitled

                                  18   “Department of Justice Referral of Allegations of Potential Violations of 8 U.S.C. § 1373 by Grant

                                  19   Recipients.” See RJN-1, Ex. A (Dkt. No. 29-1).5 The memorandum studies the policies of several

                                  20   jurisdictions and discusses whether they might violate Section 1373. It supports a broad reading

                                  21   of Section 1373 and specifically notes that San Francisco’s policy prohibiting City employees

                                  22   from using “City funds or resources to assist in the enforcement of federal immigration law or to

                                  23

                                  24   4
                                        I take judicial notice of Attorney General Sessions’s press conference statements which “can be
                                  25   accurately and readily determined from sources whose accuracy cannot reasonably be questioned.”
                                       Fed. R. Evid. § 201 (b)(2).
                                  26   5
                                        I take judicial notice of the Horowitz memorandum as a government memorandum that is not
                                  27   subject to reasonable dispute. Mack v. S. Bay Beer Distribs., Inc., 789 F.2d 1279, 1282 (9th Cir.
                                       1986) (courts may judicially notice records and reports prepared by administrative bodies);
                                  28   Daniels-Hall, 629 F.3d at 998-999 (courts may judicially notice information contained on official
                                       government websites).
                                                                                       20
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                                   1   gather or disseminate information regarding the immigration status of individuals . . . unless such

                                   2   assistance is required by federal or State statute” could run afoul of Section 1373 unless San

                                   3   Francisco employees are aware that they are permitted to share immigration status information

                                   4   with ICE. Id. The memo further suggests that policies prohibiting civil detainer requests, even if

                                   5   they do not explicitly restrict sharing of immigration status information, may nevertheless affect

                                   6   ICE’s interactions with local officials regarding immigration status requests and therefore raise

                                   7   Section 1373 concerns. Id.

                                   8          In addition to the potential that, under the Order, compliance with Section 1373 requires

                                   9   compliance with detainer requests, the Order may also directly require states and local

                                  10   governments to honor ICE detainer requests to avoid being designated “sanctuary jurisdictions.”

                                  11   While the defunding provision in Section 9(a) seems to define “sanctuary jurisdictions” as those

                                  12   that run afoul of Section 1373, Section 9(b) equates “sanctuary jurisdictions” with “any
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                                  13   jurisdiction that ignored or otherwise failed to honor any detainers with respect to [aliens that have

                                  14   committed criminal actions].” This language raises the reasonable concern that a state or local

                                  15   government may be designated a sanctuary jurisdiction, and subject to defunding, if it fails to

                                  16   honor ICE detainer requests. This interpretation is supported by Section 9(a)’s broad grant of

                                  17   discretion to the Secretary to designate jurisdictions as “sanctuary jurisdictions.” While the Order

                                  18   states that the Secretary’s designation authority must be exercised “consistent with law,” with the

                                  19   exception of the Order there are no laws regarding “sanctuary jurisdiction” designations: Section 9

                                  20   gives the Secretary unlimited discretion.

                                  21          This reading is also supported by Section 9(a)’s directive to the Attorney General to take

                                  22   “appropriate enforcement action” against any jurisdiction that has a policy or practice that

                                  23   “hinders the enforcement of federal law.” While the Order does not outline what policies

                                  24   “hinder[] the enforcement of Federal law,” Attorney General Sessions recently suggested that a

                                  25   local policy that prohibits compliance with detainer requests would constitute a “policy, or

                                  26   practice that prevents or hinders the enforcement of Federal law.” See Sessions Press Conference

                                  27   at 2 (“Unfortunately, some states and cities have adopted policies designed to frustrate this

                                  28   enforcement of immigration laws. This includes refusing to detain known felons on the federal
                                                                                        21
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                                   1   detainer request, or otherwise failing to comply with these laws.”). Given Section 9(b)’s language

                                   2   equating “sanctuary jurisdictions” with jurisdictions that fail to honor detainer requests, the

                                   3   Secretary’s unlimited discretion in designating jurisdictions as “sanctuary jurisdictions,” and the

                                   4   Order’s instruction that the Attorney General shall take “enforcement action” against jurisdictions

                                   5   that hinder the enforcement of federal law, which the Attorney General has indicated includes, at a

                                   6   minimum, failure to honor detainer requests, the Order appears to proscribe states and local

                                   7   jurisdictions from adopting policies that refuse to honor detainer requests.

                                   8          Santa Clara’s policy, prohibiting local officials from using County funds to transmit

                                   9   information collected in the course of providing critical services or benefits, could be considered a

                                  10   restriction on the intergovernmental exchange of information regarding immigration status in

                                  11   violation of Section 1373. Similar to Santa Clara, San Francisco prohibits the use of City funds or

                                  12   resources “to assist in the enforcement of Federal immigration law.” S.F. Admin. Code § 12H.2.
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                                  13   Although these policies do not directly prohibit communications with ICE, given the breadth of

                                  14   the Order and the statements of the Attorney General, the Counties have a well-founded fear that

                                  15   the Government may argue that they may sufficiently interfere with those communications in a

                                  16   way that violates Section 1373. Further, the Counties do not honor civil detainer requests. Under

                                  17   a broad reading, these policies may be considered an improper restriction on the intergovernmental

                                  18   exchange of information in violation of Section 1373, falling within Section 9(b)’s language that

                                  19   jurisdictions that fail to honor detainer requests are “sanctuary jurisdictions.”

                                  20          In short, the Counties are likely to be designated “sanctuary jurisdictions” under their

                                  21   reasonable interpretation of the Executive Order.

                                  22                          b.      The Government has indicated an intent to enforce the Order
                                                                      generally and against the Counties more specifically
                                  23
                                              In assessing whether enforcement action is likely, courts look to the past conduct of the
                                  24
                                       government, as well as the government’s statements and representations, to determine whether
                                  25
                                       enforcement is likely or simply “chimerical.” See Steffel, 415 U.S. at 459 (petitioner that had
                                  26
                                       twice been warned to stop handbilling, and whose companion had been arrested, had well-founded
                                  27
                                       fear of enforcement); Poe, 367 U.S. at 508 (1961) (“the fear of enforcement of provisions that
                                  28
                                                                                         22
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                                   1   have during so many years gone uniformly and without exception unenforced” was “chimerical”).

                                   2   A plaintiff does not need to have been specifically threatened with enforcement action to show

                                   3   that enforcement action is likely. See Susan B. Anthony List, 134 S. Ct. at 2345 (plaintiffs

                                   4   demonstrated credible threat of enforcement where the law had previously been enforced against

                                   5   them); American Booksellers, 484 U.S. at 393 (plaintiffs had credible threat of enforcement even

                                   6   though newly enacted law had not become effective and no enforcement action had been brought

                                   7   or threatened under it). However, “the threat of enforcement must at least be ‘credible,’ not

                                   8   simply ‘imaginary or speculative.’ ” Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134,

                                   9   1140 (9th Cir. 2000) (en banc) (citing Babbitt, 442 U.S. at 298).

                                  10           Although the Government now takes the position that the Order carries no legal force, in

                                  11   its public statements and through its actions it has repeatedly indicated its intent to enforce the

                                  12   Order. The Executive Order was passed on January 27, 2017. Although the defunding provision
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                                  13   has not yet been enforced against any jurisdiction, governmental leaders have made numerous

                                  14   statements reaffirming the Government’s intent to enforce the Order and to use the threat of

                                  15   withholding federal funds as a tool to coerce states and local jurisdictions to change their policies.

                                  16   On February 5, 2017, after signing the Executive Order, President Trump confirmed that he was

                                  17   willing and able to use “defunding” as a “weapon” so that sanctuary cities would change their

                                  18   policies. See Harris Decl. Ex. B (Tr. of Feb. 5, 2017 Bill O’Reilly Interview with President

                                  19   Donald J. Trump) at 4 (SC Dkt. No. 36-2) (“I don’t want to defund anybody. I want to give them

                                  20   the money they need to properly operate as a city or a state. If they’re going to have sanctuary

                                  21   cities, we may have to do that. Certainly that would be a weapon.”).6

                                  22           Sean Spicer, the White House press secretary, has confirmed that the Government intends

                                  23   to enforce the order, stating that the President intended to ensure that “counties and other

                                  24   institutions that remain sanctuary cities don’t get federal government funding in compliance with

                                  25

                                  26
                                       6
                                  27     I take judicial notice of President Trump’s interview statements as the veracity of these
                                       statements “can be accurately and readily determined from sources whose accuracy cannot
                                  28   reasonably be questioned.” Fed. R. Evid. § 201 (b)(2).

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                                   1   the executive order.” Harris Decl. Ex. C at 4-5 (SC Dkt. No. 36-3).7 In the same briefing, Spicer

                                   2   cited favorably the actions of Miami-Dade County Mayor Carlos Giménez who, one day after the

                                   3   Executive Order, instructed his Interim Director of Corrections to “honor all immigration detainer

                                   4   requests” “[i]n light of the Executive Order.” See RJN-1, Ex. C (SF Dkt. No. 29-3).8 Lauding

                                   5   Miami-Dade’s actions, Spicer noted that Miami-Dade “understand[s] the importance of this order”

                                   6   and encouraged other jurisdictions to follow its lead. Harris Decl. Ex. C at 4-5.

                                   7            Attorney General Sessions recently reaffirmed the Government’s intent to enforce the

                                   8   defunding provisions, stating that if jurisdictions do not comply with Section 1373, such violations

                                   9   would result in “withholding grants, termination of grants, and disbarment or ineligibility for

                                  10   future grants,” and that the Government would seek to “claw back any funds awarded to a

                                  11   jurisdiction that willfully violates 1373.” Sessions Press Conference at 2.9 When asked at a

                                  12   subsequent press briefing about this claw back process, Spicer confirmed that the Government’s
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                                  13   “priority is clear, is to get cities into – into compliance and to make sure we understand there’s not

                                  14   just a financial impact of this, but also a very clear security aspect of this.” RJN-3, Ex. C at 15

                                  15   (SF Dkt. No. 74-3).10

                                  16            The statements of the President, his press secretary and the Attorney General belie the

                                  17

                                  18   7
                                         I take judicial notice of Spicer’s February 8, 2017 press briefing as courts may judicially notice
                                  19   information contained on official government websites. See Daniels-Hall, 629 F.3d at 998-999.
                                       8
                                  20     I take judicial notice of Mayor Giménez’s memorandum as a government memorandum and
                                       record. See Mack, 789 F.2d at 1282.
                                  21   9
                                         In addition to these statements, the Government began to implement Section 9(b) of the
                                  22   Executive Order, which is designed to “better inform the public regarding the public safety threats
                                       associated with sanctuary jurisdictions” and requires ICE to publish a weekly “Declined Detainer
                                  23   Outcome Report” containing a public list of all “criminal actions committed by aliens and any
                                       jurisdiction that ignored or otherwise failed to honor any detainers with respect to such aliens.”
                                  24   See RJN-2, Ex. H. (SF Dkt. No. 61-8). Due to concerns that the weekly reports contained
                                       inaccurate information, the Declined Detainer Outcome Report has been “temporarily suspended”
                                  25   but “ICE remains committed to publishing the most accurate information available regarding
                                       declined detainers across the country.” Declined Detainer Outcome Report, ICE,
                                  26   https://www.ice.gov/declined-detainer-outcome-report (last visited April 12, 2017). I take judicial
                                       notice of the ICE’s Declined Detainer Outcome Reports as courts may judicially notice
                                  27   information contained on official government websites. See Daniels-Hall, 629 F.3d at 998-999.
                                       10
                                  28     I take judicial notice of Spicer’s March 31, 2017 press briefing as courts may judicially notice
                                       information contained on official government websites. See Daniels-Hall, 629 F.3d at 998-999.
                                                                                        24
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                                   1   Government’s argument in the briefing that the Order does not change the law. They have

                                   2   repeatedly indicated an intent to defund sanctuary jurisdictions in compliance with the Executive

                                   3   Order. The Counties’ concerns that the Government will enforce the defunding provision are well

                                   4   supported by the Government’s public statements and actions, all of which are consistent with

                                   5   enforcing the Order.

                                   6            Finally, in addition to demonstrating that the Government is likely to enforce the Order,

                                   7   the Counties have demonstrated that the Government is particularly likely to target them and the

                                   8   funds on which they rely. In a February 5, 2017 interview, President Trump specifically

                                   9   threatened to defund California, stating: “I’m very much opposed to sanctuary cities. They breed

                                  10   crime. There’s a lot of problems. If we have to we’ll defund, we give tremendous amounts of

                                  11   money to California . . . California in many ways is out of control.” See Harris Decl. Ex. B. The

                                  12   Counties have established that they both receive large percentages of their federal funding through
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                                  13   the State of California, and that they would suffer injury if California was “defunded.” In a recent

                                  14   joint letter to Chief Justice Cantil-Sakauye of the California Supreme Court, Attorney General

                                  15   Sessions and Secretary Kelly again called out the State of California, as well as its cities and

                                  16   counties, for their sanctuary policies: “Some jurisdictions, including the State of California and

                                  17   many of its largest counties and cities, have enacted statutes and ordinances designed to

                                  18   specifically prohibit or hinder ICE from enforcing immigration law by prohibiting communication

                                  19   with ICE, and denying requests by ICE officers and agents to enter prisons and jails to make

                                  20   arrests.” RJN-3, Ex. A (SF Dkt. No. 74-1).11 ICE has identified California, Santa Clara County,

                                  21   and San Francisco as jurisdictions with policies that “Restrict Cooperation with ICE” and has

                                  22   identified Santa Clara County Main Jail and San Francisco County Jail as two of eleven detention

                                  23   centers with the “highest volume of detainers issued” that “do not comply with detainers on a

                                  24   routine basis.” RJN-3, Ex. B (SF Dkt. No. 74-2).

                                  25            The President and the Attorney General have also repeatedly held up San Francisco

                                  26
                                  27   11
                                         I take judicial notice of Attorney General Sessions’s and Secretary Kelly’s letter as an official
                                  28   government document. See Mack, 789 F.2d at 1282.

                                                                                         25
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                                   1   specifically as an example of how sanctuary policies threaten public safety. In his statements to

                                   2   the press on March 27, 2017, Attorney General Sessions referenced the tragic death of Kate

                                   3   Steinle and noted that her killer “admitted the only reason he came to San Francisco was because

                                   4   it was a sanctuary city.” Sessions Press Conference at 1. In an op-ed recently published in the

                                   5   San Francisco Chronicle, the Attorney General wrote that “Kathryn Steinle might be alive today if

                                   6   she had not lived in a ‘sanctuary city’ ” and implored “San Francisco and other cities to re-

                                   7   evaluate these policies.” RJN-3, Ex. D (SF Dkt. No. 74-4).12 These statements indicate not only

                                   8   the belief that San Francisco is a “sanctuary jurisdiction” but that its policies are particularly

                                   9   dangerous and in need of change. They also reveal a choice by the Government to hold up San

                                  10   Francisco as an exemplar of a sanctuary jurisdiction.

                                  11            The Government argues that despite these public statements, San Francisco and Santa

                                  12   Clara cannot demonstrate a credible threat of enforcement because the Government has not
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                                  13   actually threatened to enforce the Executive Order against them. It points to Thomas v. Anchorage

                                  14   Equal Rights Commission, in which the Ninth Circuit, sitting en banc, concluded that plaintiffs

                                  15   lacked standing to challenge an Alaska law prohibiting landlords from discriminating against

                                  16   tenants on the basis of their marital status. Thomas, 220 F.3d at 1137. In finding the case was

                                  17   non-justiciable, the court highlighted that “[n]o action has ever been brought against the landlords

                                  18   to enforce the marital status provision.” Id. at 1140. However, this was not the only fact

                                  19   informing the court’s analysis: it also noted that plaintiffs could not point to concrete facts

                                  20   showing that they had ever violated the law or were planning to violate it, it stressed that the

                                  21   enforcement agency tasked with enforcing the Alaska law had never heard of plaintiffs before the

                                  22   case was filed, and it emphasized that in 25-years on the books the law had been minimally

                                  23   enforced (resulting in only two civil enforcement actions and no criminal prosecutions). Id. None

                                  24   of these facts are present here.

                                  25            The Government’s specific criticisms of San Francisco, Santa Clara, and California

                                  26
                                  27   12
                                         I take judicial notice of Attorney General Sessions’s statements in his op-ed as the veracity of
                                  28   these statements “can be accurately and readily determined from sources whose accuracy cannot
                                       reasonably be questioned.” Fed. R. Evid. § 201 (b)(2).
                                                                                        26
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                                   1   support a well-founded fear that San Francisco and Santa Clara will face enforcement directly

                                   2   under the Executive Order, or could be subject to defunding indirectly through enforcement

                                   3   against California.13 San Francisco and Santa Clara have shown that their current practices and

                                   4   policies are targeted by the Order. They have demonstrated that, in the less-than-three months

                                   5   since the Order was signed, the Government has repeatedly indicated its intent to enforce it. And

                                   6   they have established that the Government has specifically highlighted Santa Clara and San

                                   7   Francisco as jurisdictions with sanctuary policies. On these facts, Santa Clara and San Francisco

                                   8   have demonstrated that the “threat of enforcement [is] credible, not simply imaginary or

                                   9   speculative.” Id. (internal quotation marks omitted).

                                  10                           c.      The Counties’ claims implicate a constitutional interest
                                  11            The Counties’ claims implicate a constitutional interest, the rights of states and local

                                  12   governments to determine their own local policies and enforcement priorities pursuant to the
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                                  13   Tenth Amendment. See Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592,

                                  14   601 (1982) (highlighting that states have a sovereign interest in “the exercise of sovereign power

                                  15   over individuals and entities within the relevant jurisdiction—this involves the power to create and

                                  16   enforce a legal code, both civil and criminal”); see also New York v. United States, 505 U.S. 144,

                                  17   157-158 (1992) (“[T]he Tenth Amendment confirms that the power of the Federal Government is

                                  18   subject to limits that may, in a given instance, reserve power to the States.”).

                                  19            The Counties explain that their sanctuary policies “reflect local determinations about the

                                  20   best way to promote public health and safety.” SF Mot. at 19 (SF Dkt. No. 21). In contrast to the

                                  21   Order’s assertion that sanctuary jurisdictions are a “public safety threat[],” the Counties contend

                                  22   that, in their judgment and experience, sanctuary policies make the community safer by fostering

                                  23   trust between residents and local law enforcement. Among other things, this community trust

                                  24   encourages undocumented residents to cooperate with police and report crimes, see Individual

                                  25   Sheriffs and Police Chiefs’ Amicus Brief at 3-10 (SF Dkt. No. 59-1); Southern Poverty Law

                                  26
                                  27   13
                                          Amicus briefs on behalf of numerous California cities and counties, public school districts and
                                  28   the State Superintendent of Instruction echo the reasons given by the Counties to demonstrate
                                       standing here.
                                                                                        27
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                                   1   Center Amicus Brief at 5 (SF Dkt. No. 38-2) and to obtain preventative medical care and

                                   2   immunizations, which has major implications for public health and works to reduce emergency

                                   3   medical care costs, see Nonprofit Associations’ Amicus Brief at 11(SF Dkt. No. 68-1); SEIU

                                   4   Amicus Brief at 5-6 (SF Dkt. No. 33-1). It also improves schools’ ability to provide quality

                                   5   education to all children. See State Superintendent of Public Instruction’s Amicus Brief at 1-2 (SF

                                   6   Dkt. No. 64-1); Public Schools’ Amicus Brief at 7 (SF Dkt. No. 58-1).14

                                   7            The Counties have demonstrated that their sanctuary policies reflect their local judgment of

                                   8   what policies and practices are most effective for maintaining public safety and community health.

                                   9   Because they argue that the Executive Order seeks to undermine this judgment by attempting to

                                  10   compel them to change their policies and enforce the Federal government’s immigration laws in

                                  11   violation of the Tenth Amendment, their claims implicate a constitutional interest. See Virginia ex

                                  12   rel. Cuccinelli v. Sebelius, 656 F.3d 253, 269 (4th Cir. 2011) (“when a federal law interferes with
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                                  13   a state’s exercise of its sovereign ‘power to create and enforce a legal code’ [] it inflict[s] on the

                                  14   state the requisite injury-in-fact.”); Ohio ex rel. Celebrezze v. U.S. Dep’t of Transp., 766 F.2d 228,

                                  15   233 (6th Cir. 1985) (Ohio had standing to litigate the constitutionality of its own law where

                                  16   “effective enforcement of the Ohio statute” was rendered “uncertain by the formal position of the

                                  17   [U.S. Department of Transportation] that the Ohio statute is preempted” as “threatened injury to a

                                  18   State’s enforcement of its safety laws” constitutes an injury-in-fact).

                                  19
                                       14
                                  20     The Counties have received support from dozens of Amici, who collectively filed 16 briefs in
                                       support of each motion for preliminary injunction. See, SEIU Amicus Brief (SF Dkt. No. 33-
                                  21   1)(SF Dkt. No. 59-1); Professors of Constitutional Law Amicus Brief (SF Dkt. No. 36-1) (SC Dkt.
                                       No. 68-1); Southern Poverty Law Center, et al. Amicus Brief (SF Dkt. No. 38-1)(SC Dkt. No. 67-
                                  22   1); Technology Companies Amicus Brief (SF Dkt. No. 39-1)(SC Dkt. No. 73-1); California Cities
                                       and Counties Amicus Brief (SF Dkt. No. 40)(SC Dkt. No. 74-1); Tahirih Justice Center et al.
                                  23   Amicus Brief (SF Dkt. No. 41-1)(SC Dkt. No. 76-1); International Municipal Lawyers Amicus
                                       Brief (SF Dkt. No. 47-1); Public Schools Amicus Brief (SF Dkt. No. 58-1)(SC Dkt. No. 77-1);
                                  24   Individual Sheriffs and Police Chiefs Amicus Brief (SF Dkt. No. 59-1)(SC Dkt. No. 65-1); 34
                                       Cities and Counties Amicus Brief (SF Dkt. No. 62-1)(SC Dkt. No. 61-1); Constitutional Law
                                  25   Scholars Amicus Brief (SF Dkt. No. 63-1)(SC Dkt. No. 69-1); California Superintendent of Public
                                       Instruction Amicus Brief (SF Dkt. No. 64-1)(SC Dkt. No. 75); State of California Amicus Brief
                                  26   (SF Dkt. No. 66-1)(SC Dkt. No. 71-1); Anti-Defamation League Amicus Brief (SF Dkt. No. 67-
                                       1)(SC Dkt. No. 72-1); Bay Area Non-Profits (SF Dkt. No. 68-1)(SC Dkt. No. 78-1); SIREN
                                  27   Amicus Brief (SC Dkt. No. 64-1); see also NAACP Joinder re Southern Poverty Law Amicus
                                       Brief (SF Dkt. No. 69)(SC Dkt. No. 86); Young Women’s Christian Association Joinder re
                                  28   Motion for Preliminary Injunction (SC Dkt. No. 43-3). I GRANT all of Amici’s administrative
                                       motions for leave to file Amicus Briefs.
                                                                                       28
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                                                              d.      The Counties are threatened with the loss of federal grants and
                                   1                                  face a present injury in the form of budgetary uncertainty
                                   2          The Counties assert that the Order threatens to penalize them for failing to comply with

                                   3   Section 1373 and for failing to honor detainer requests by withholding all federal funds, or at least

                                   4   all federal grants. Section 9(a) does not threaten all federal funding, but it does include all federal

                                   5   grants, which still make up a significant part of the Counties’ budgets. This threatened injury

                                   6   meets Article III’s standing requirements. A “loss of funds promised under federal law [] satisfies

                                   7   Article III’s standing requirement.” Organized Village of Kake v. U.S. Dep’t of Agric., 795 F.3d

                                   8   956, 965 (9th Cir. 2015).

                                   9          The Counties also explain that the need to mitigate a potential sudden loss of federal funds

                                  10   has thrown their budgeting processes into uproar: they cannot make informed decisions about

                                  11   whether to keep spending federal funds on needed services for which they may not be reimbursed;

                                  12   they are forced to make contingency plans to deal with a potential loss of funds, including placing
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                                  13   funds in a budget reserve in lieu of spending that money on needed programs; and the obligation

                                  14   to mitigate potential harm to their residents and drastic cuts to services may ultimately compel

                                  15   them to change their local policies to comply with what they believe to be an unconstitutional

                                  16   Order. The potential loss of all federal grants creates a contingent liability large enough to have

                                  17   real and concrete impacts on the Counties’ ability to budget and plan for the future. As discussed

                                  18   in more detail below, the Counties have demonstrated that they are suffering a present “injury []

                                  19   inflicted by the mere existence and threatened enforcement of the [Order].” Village of Euclid, 272

                                  20   U.S. at 385. In addition to the threatened loss of funds, this may also establish Article III standing.

                                  21          A sudden loss of grant funding would have another effect. The Counties receive large

                                  22   portions of their federal grants through reimbursement structures – the Counties first spend their

                                  23   own money on particular services and then receive reimbursements from the federal government

                                  24   based on the actual services provided. Marquez Decl. ¶ 15. Because these funds are spent on an

                                  25   ongoing basis, at all times the Counties are expecting, and relying on, millions of dollars in federal

                                  26   reimbursements for services already provided. A sudden cut to funding, including a cut to these

                                  27   reimbursements, could place them immediately in significant debt. A sudden and unanticipated

                                  28   cut mid-fiscal year would substantially increase the injury to the Counties by forcing them to make
                                                                                         29
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                                   1   even more drastic cuts to absorb the loss of funds during a truncated period in order to stay on

                                   2   budget. Whitehouse Decl. ¶ 9.

                                   3          San Francisco explains that a mid-year loss of only $120 million in federal funding would:

                                   4   require the City to make significant cuts to critical services and would result in reductions in the

                                   5   numbers of first responders, such as police officers, firefighters, and paramedics; require severe

                                   6   cuts to the City’s MUNI transportation system; threaten the Mayor’s program to end chronic

                                   7   veterans’ homelessness by 2018; and likely require cuts to social services, such as senior meals,

                                   8   safety net services for low-income children, and domestic violence prevention services.

                                   9   Whitehouse Decl. ¶17. Because federal grants support key government services, San Francisco

                                  10   asserts that, without clarity about the funds the Order could withhold or claw back, it will need to

                                  11   allocate millions of dollars to a budget reserve on May 15, 2017 to prepare for the potential loss of

                                  12   significant funds during the 2017 fiscal year. Whitehouse Decl. ¶8, 10, 15. Any funds placed in a
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                                  13   reserve fund will not be available to fund other City programs and services for the 2017 fiscal

                                  14   year, which would result in a dollar-for-dollar reduction in services the City is able to provide its

                                  15   residents. Id. 13-14.

                                  16          Santa Clara asserts that the current budgetary uncertainty puts it in an “untenable position.”

                                  17   Marquez Decl. ¶4. It explains that Santa Clara’s budget for the current fiscal year is already in

                                  18   place and was developed based on careful weighing of various factors, including anticipated

                                  19   revenues, specific service needs, salary and benefits for the County’s 19,000 employees, and the

                                  20   County’s fiscal priorities. Id. ¶12. Because Santa Clara operates federally funded programs on a

                                  21   daily basis, and incurs costs in anticipation that it will be reimbursed, its ability to provide these

                                  22   services depends on the County having some confidence that it will continue to receive the federal

                                  23   reimbursements and funds on which it depends. With the Order’s unclear and broad language

                                  24   threatening a significant cut to funding, the County does not know “whether to (1) continue

                                  25   incurring hundreds of millions of dollars in costs that may never be reimbursed by the federal

                                  26   government, (2) discontinue basic safety-net services delivered to its most vulnerable residents, or

                                  27   (3) in an attempt to avoid either of these outcomes, be effectively conscripted into using local law

                                  28   enforcement and other resources to assist the federal government in its immigration enforcement
                                                                                          30
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                                   1   efforts.” Id. at 11.

                                   2           The Government argues that governmental budgeting always suffers from some

                                   3   uncertainty due to fluctuations in cost and tax revenues so any uncertainty caused by the Executive

                                   4   Order does not make “an otherwise certain endeavor [] less certain.” While local budgeting

                                   5   always suffers from some uncertainty, as addressed immediately above, it is the magnitude of the

                                   6   present uncertainty and the fact that the Executive Order places at risk funds on which the

                                   7   Counties could previously rely that is causing them harm. The Government also argues that the

                                   8   Counties’ concerns would not be addressed by enjoining the Executive Order because “the Order

                                   9   does not alter or expand existing law governing the Federal Government’s discretion to revoke or

                                  10   deny a grant where the grantee violates legal requirements.” As discussed supra in Section I.A.1,

                                  11   I reject this unpersuasive interpretation of the Order.

                                  12           Finally, the Government asserts that budgetary uncertainty is too abstract to meet Article
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                                  13   III’s standing requirements and cites Los Angeles Memorial Coliseum Commission v. National

                                  14   Football League, 634 F.2d 1197, 1201 (9th Cir. 1980). The facts of that case are not analogous to

                                  15   this one. There, the Coliseum Commission alleged that there was a reasonable likelihood that the

                                  16   Raiders were “seriously interested” in moving to Los Angeles but that they were unlikely to get

                                  17   the necessary votes from the NFL to approve a transfer under the existing rules. The Ninth Circuit

                                  18   concluded that the Commission’s speculative allegations were not sufficient to establish standing

                                  19   to challenge the transfer approval rules. Id. While the Commission alleged it was likely to suffer

                                  20   losses in revenues as a result of the transfer rules, it made no argument that the NFL’s rules caused

                                  21   the type of significant budget uncertainty alleged here.

                                  22           The Counties cite Clinton v. City of New York, 524 U.S. 417, 438 (1998), which is on

                                  23   point. There, the Court considered whether the City of New York was injured when President

                                  24   Clinton cancelled a section of the Balanced Budget Act of 1997 that waived the federal

                                  25   government’s right to recover certain past taxes from New York. Id. at 422. This cancellation

                                  26   meant that the state was again potentially liable for remitting close to $2.6 billion to the

                                  27   Department of Health and Human Services (“HHS”), and would have to wait for a determination

                                  28   from the HHS as to whether it would grant the state’s requests to waive those taxes. Id. The
                                                                                         31
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                                   1   Court rejected the government’s argument that the City’s injuries were too speculative. It

                                   2   concluded that although there was still a potential that New York’s taxes would be waived, the

                                   3   President’s cancellation had deprived New York of the benefits of the law, which were akin to the

                                   4   certainty of a favorable final judgment. Id. at 430-31. It reasoned, “the revival of a substantial

                                   5   contingent liability immediately and directly affects the borrowing power, financial strength, and

                                   6   fiscal planning of the potential obligor” and constitutes an injury-in-fact. Id. at 430-31.

                                   7           While President Clinton’s cancellation in City of New York revived a contingent liability,

                                   8   President Trump’s Executive Order creates a contingent liability, potentially placing hundreds of

                                   9   millions of dollars of the Counties’ federal grants at risk. The Counties have explained the

                                  10   concrete impact this new liability has had in disrupting their ability to budget, make decisions

                                  11   regarding what services to provide, and plan for the future. The potential loss of funds also

                                  12   impacts the Counties potential borrowing power and financial strength – San Francisco notes that
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                                  13   it has already received inquiries from credit rating agencies about the Executive Order and its

                                  14   impact on San Francisco’s finances. Rosenfield Decl. ¶31. This budget uncertainty is not

                                  15   abstract. It has caused the Counties real and tangible harms. They have adequately demonstrated

                                  16   that budgetary uncertainty of the type threatened by the Executive Order can constitute an injury-

                                  17   in-fact sufficient for Article III standing.

                                  18                           e.      The Counties meet the requirements for pre-enforcement
                                                                       standing
                                  19
                                               In sum, the Counties have established a well-founded fear of enforcement under the
                                  20
                                       Executive Order. They have demonstrated that, under their reasonable interpretation of the Order,
                                  21
                                       their local policies are proscribed by Section 9’s language. They have demonstrated that the
                                  22
                                       Government intends to enforce the Order against them specifically. And they have demonstrated
                                  23
                                       that their claims against the Order implicate a constitutional interest – their Tenth Amendment
                                  24
                                       rights to self-governance. The Counties have shown “an intention to engage in a course of
                                  25
                                       conduct arguably affected with a constitutional interest, but proscribed by a statute, and there
                                  26
                                       exists a credible threat of prosecution thereunder.” Babbitt, 442 U.S. at 298. Further, the
                                  27
                                       Counties have demonstrated that the Order threatens to withhold federal grant money and that the
                                  28
                                                                                         32
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                                   1   threat of the Order is presently causing the Counties injury in the form of significant budget

                                   2   uncertainty. The Counties’ well-founded fear of enforcement of Section 9(a) is sufficient to

                                   3   demonstrate Article III standing.

                                   4          B.      Ripeness
                                   5          The Government also argues that the Counties’ claims are not justiciable because they are

                                   6   not “prudentially ripe.” In assessing prudential ripeness, a court considers “both the fitness of the

                                   7   issues for judicial decision and the hardship to the parties of withholding court consideration.”

                                   8   Abbott Labs. v. Gardner, 387 U.S. 136, 149 (9th Cir. 1989). The Supreme Court has called into

                                   9   question “the continuing vitality of the prudential ripeness doctrine” and highlighted that

                                  10   prudential ripeness is distinct from constitutional ripeness. Susan B. Anthony List, 134 S. Ct. at

                                  11   2347 (holding that a claim was justiciable, even though the Court had not yet assessed its

                                  12   prudential ripeness, because “we have already concluded that petitioners have alleged a sufficient
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                                  13   Article III injury”). Regardless, the Counties’ claims meet the “fitness” and “hardship” factors of

                                  14   prudential ripeness.

                                  15          “A claim is fit for decision if the issues raised are primarily legal, do not require further

                                  16   factual development, and the challenged action is final.” Standard Alaska Prod. Co. v. Schaible,

                                  17   874 F.2d 624, 627 (9th Cir. 1989). The Government asserts that the Counties’ claims are not yet

                                  18   fit for review because “[i]mplementation of Section 9 ‘rests upon [several] contingent future

                                  19   events’– including clarification of some of its terms – and those terms may ultimately be defined

                                  20   such as to exclude the County or its grants or otherwise to greatly diminish the Order’s

                                  21   ‘anticipated’ impact.” SC Oppo. at 17 (citing Texas v. United States, 523 U.S. 296, 300 (1998)).

                                  22          In Texas v. United States, Texas sought a declaration that a state provision allowing the

                                  23   State Commissioner of Education to appoint a special master to impose sanctions against school

                                  24   districts falling below the state’s accreditation requirements did not violate Section 5 of the Voting

                                  25   Rights Act. 523 U.S. at 299. The Court concluded that this claim was not ripe for review because

                                  26   the relevant statute would only come into play if a school district fell below the state’s standard, if

                                  27   the Commissioner had unsuccessfully attempted to impose a number of other less intrusive

                                  28   measures first, and if the Commissioner then decided a special master was necessary. Id. at 300.
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                                   1   Given the various uncertain future events, and that the state could not identify any school district

                                   2   to which the Commissioner was likely to appoint a special master, the Court concluded that the

                                   3   claim was not yet fit for review. Id.

                                   4          The Government argues that, because it must still determine what the terms of the Order

                                   5   mean and how it will enforce it, the Counties’ claims are not fit for review, just like the state’s

                                   6   claim in Texas. This argument is not convincing. The “contingent future events” the Government

                                   7   identifies are always at issue in a pre-enforcement case; before actual enforcement occurs the

                                   8   enforcing agency must determine what the statute means and to whom it applies. Under the

                                   9   Government’s line of reasoning, virtually all pre-enforcement cases would be non-justiciable on

                                  10   prudential ripeness grounds. But the possibility that the Government “may” choose to interpret

                                  11   the Order’s broad language narrowly or “may” choose not to enforce it against the Counties does

                                  12   not justify deferring review. This is especially true here because, as the Counties highlight, the
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                                  13   uncertainty concerning how the Government will enforce the Order is currently causing them

                                  14   injury. Given the statements of the President and Attorney General, the Counties have every

                                  15   reason to be concerned about budgeting decisions, are struggling to determine whether to continue

                                  16   to provide, or cut services, and are expending time and resources planning for the contingency of

                                  17   losing federal funds. The Counties challenge the Executive Order as written; a decision to enforce

                                  18   it sparingly cannot impact whether it is unconstitutional on its face. The Counties’ claims do not

                                  19   require further factual development, are legal in nature, and are brought against a final Executive

                                  20   Order. They are fit for review.

                                  21          “To meet the hardship requirement, a litigant must show that withholding review would

                                  22   result in direct and immediate hardship and would entail more than possible financial loss.”

                                  23   Winter v. Cal. Med. Review, Inc., 900 F.2d 1322, 1325 (9th Cir. 1989) (internal quotation marks

                                  24   omitted). The Government argues that the “uncertainties surrounding the implementation of

                                  25   Section 9 and the need for ‘factual development’ greatly outweigh any ‘hardship’ to the Count[ies]

                                  26   from awaiting those developments.” SC Oppo. at 17-18. But the “uncertainties” created by the

                                  27   broad, vague language of the Order, its unconstitutional directives, and the comments of the

                                  28   President and Attorney General about what type of conduct and which jurisdictions it targets are
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                                   1   causing the Counties present harm. Without clarity the Counties do not know whether they should

                                   2   start slashing essential programs or continue to spend millions of dollars and risk a financial crisis

                                   3   in the near future. They are forced to choose “between taking immediate action to [their]

                                   4   detriment and risking substantial future penalties for non-compliance.” Chamber of Commerce of

                                   5   U.S. v. Reich, 57 F.3d 1099, 1100-01 (D.C. Cir. 1995). Waiting for the Government to decide

                                   6   how it wants to apply the Order would only cause more hardship and would not resolve the legal

                                   7   question at issue: whether Section 9(a) as written is unconstitutional. The Counties’ claims are

                                   8   prudentially ripe.

                                   9             The Counties have established Article III standing and their claims are justiciable. They

                                  10   have also demonstrated that their claims are prudentially ripe for review.

                                  11   II.       LIKELIHOOD OF SUCCESS ON THE MERITS
                                  12             The Counties challenge the Executive Order on several constitutional grounds and bear the
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                                  13   burden of demonstrating a likelihood of success on the merits. The Government presents no

                                  14   defense to these constitutional arguments; it focused on standing and ripeness. I conclude that the

                                  15   Counties have demonstrated likely success on the merits in several ways.

                                  16             A.     Separation of Powers
                                  17             The Counties argue that the Executive Order is unconstitutional because it seeks to wield

                                  18   powers that belong exclusively to Congress, the spending powers. Article I of the Constitution

                                  19   grants Congress the federal spending powers. See U.S. Const. art. I, § 8, cl. 1. “Incident to this

                                  20   power, Congress may attach conditions on the receipt of federal funds, and has repeatedly

                                  21   employed the power ‘to further broad policy objectives by conditioning receipt of federal moneys

                                  22   upon compliance by the recipient with federal statutory and administrative directives.’ ” South

                                  23   Dakota v. Dole, 483 U.S. 203, 206 (1987) (citing Fullilove v. Klutznick, 448 U.S. 448, 474 (1980)

                                  24   (emphasis added). While the President may veto a Congressional enactment under the

                                  25   Presentment Clause, he must “either ‘approve all the parts of a Bill, or reject it in toto.’ ” City of

                                  26   New York, 524 U.S. at 438 (quoting 33 Writings of George Washington 96 (J. Fitzpatrick ed.,

                                  27   1940)). He cannot “repeal[] or amend[] parts of duly enacted statues” after they become law. Id.

                                  28   at 439.
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                                   1          This is true even if Congress has attempted to expressly delegate such power to the

                                   2   President. Id. In City of New York, the Supreme Court concluded that the Line Item Veto Act,

                                   3   which sought to grant the President the power to cancel particular direct spending and tax benefit

                                   4   provisions in bills, was unconstitutional as it ran afoul of the “ ‘finely wrought’ procedures

                                   5   commanded by the Constitution” for enacting laws. Id. at 448 (quoting INS v. Chadha, 462 U.S.

                                   6   919, 951 (1983)). While Congress can delegate some discretion to the President to decide how to

                                   7   spend appropriated funds, any delegation and discretion is cabined by these constitutional

                                   8   boundaries.

                                   9          After a bill becomes law, the President is required to “take Care that the Law be faithfully

                                  10   executed.” See U.S. Const. art. II, § 3, cl. 5. Where Congress has failed to give the President

                                  11   discretion in allocating funds, the President has no constitutional authority to withhold such funds

                                  12   and violates his obligation to faithfully execute the laws duly enacted by Congress if he does so.
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                                  13   See City of New York, 524 U.S. at 439; U.S. Const. art. I, § 8, cl. 1. Further, “[w]hen the President

                                  14   takes measures incompatible with the expressed or implied will of Congress, his power is at its

                                  15   lowest ebb . . .” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J.,

                                  16   concurring). Congress has intentionally limited the ability of the President to withhold or

                                  17   “impound” appropriated funds and has provided that the President may only do so after following

                                  18   particular procedures and after receiving Congress’s express permission. See Impoundment

                                  19   Control Act of 1974, 2 U.S.C. §§ 683 et seq.

                                  20          The Executive Order runs afoul of these basic and fundamental constitutional structures.

                                  21   The Order’s stated purpose is to “ensure that jurisdictions that fail to comply with applicable

                                  22   Federal law do not receive Federal funds, except as mandated by law.” EO §2. To effectuate this

                                  23   purpose, the Order directs that “the Attorney General and the Secretary, in their discretion and to

                                  24   the extent consistent with law, shall ensure that jurisdictions that willfully refuse to comply with 8

                                  25   U.S.C. 1373 (sanctuary jurisdictions) are not eligible to receive Federal grants, except as deemed

                                  26   necessary for law enforcement purposes by the Attorney General or the Secretary.” EO §9(a).

                                  27   Section 9 purports to give the Attorney General and the Secretary the power to place a new

                                  28   condition on federal funds (compliance with Section 1373) not provided for by Congress. But the
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                                   1   President does not have the power to place conditions on federal funds and so cannot delegate this

                                   2   power.

                                   3            Section 9 is particularly problematic as Congress has repeatedly, and frequently, declined

                                   4   to broadly condition federal funds or grants on compliance with Section 1373 or other federal

                                   5   immigration laws as the Executive Order purports to do. See, e.g., Ending Sanctuary Cities Act of

                                   6   2016, H.R. 6252, 114th Cong. (2016); Stop Dangerous Sanctuary Cities Act, S. 3100, 114th Cong.

                                   7   (2016); Stop Dangerous Sanctuary Cities Act, H.R. 5654, 114th Cong. (2016); Stop Sanctuary

                                   8   Policies and Protect Americans Act, S. 2146, 114th Cong. (2016). This puts the President’s power

                                   9   “at its lowest ebb.” Youngstown, 343 U.S. at 637. The Order’s attempt to place new conditions on

                                  10   federal funds is an improper attempt to wield Congress’s exclusive spending power and is a

                                  11   violation of the Constitution’s separation of powers principles.

                                  12            B.     Spending Clause Violations
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                                  13            The Counties also argue that, even if the President had the spending power, the Executive

                                  14   Order would be unconstitutional under the Tenth Amendment as it exceeds those powers. The

                                  15   Counties are likely to succeed on this claim as well.

                                  16            While Congress has significant authority to encourage policy through its spending power,

                                  17   the Supreme Court has articulated a number of limitations to the conditions Congress can place on

                                  18   federal funds. The Executive Order likely violates at least three of these restrictions: (1)

                                  19   conditions must be unambiguous and cannot be imposed after funds have already been accepted;

                                  20   (2) there must be a nexus between the federal funds at issue and the federal program’s purpose;

                                  21   and (3) the financial inducement cannot be coercive.

                                  22                   1.      Unambiguous Requirement
                                  23            When Congress places conditions on federal funds “it must do so unambiguously” so that

                                  24   states and local jurisdictions contemplating whether to accept such funds can “exercise their

                                  25   choice knowingly, cognizant of the consequences of their participation.” Dole, 483 U.S. at 203

                                  26   (internal quotation marks omitted). Because states must opt-in to a federal program willingly,

                                  27   fully aware of the associated conditions, Congress cannot implement new conditions after-the-fact.

                                  28   See Nat’l Fed. of Indep. Bus. v. Sebelius (“NFIB”), 132 S. Ct. 2566, 2602-04 (2012). “The
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                                   1   legitimacy of Congress’s exercise of the spending power thus rests on whether the state

                                   2   voluntarily and knowingly accepts the terms of the contract” at the time Congress offers the

                                   3   money. Id. at 2602.

                                   4          The Executive Order purports to retroactively condition all “federal grants” on compliance

                                   5   with Section 1373. As this condition was not an unambiguous condition that the states and local

                                   6   jurisdictions voluntarily and knowingly accepted at the time Congress appropriated these funds, it

                                   7   cannot be imposed now by the Order. In addition, while the Order’s language refers to all federal

                                   8   grants, the Government’s lawyers say it only applies to three grants issued through the

                                   9   Departments of Justice and Homeland Security. If the funds at stake are not clear, the Counties

                                  10   cannot voluntarily and knowingly choose to accept the conditions on those funds.

                                  11           Finally, as discussed infra in Section II.D., the Order’s vague language does not make

                                  12   clear what conduct it proscribes or give jurisdictions a reasonable opportunity to avoid its
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                                  13   penalties. See discussion re vagueness infra Section II.D. The unclear and untimely conditions in

                                  14   the Executive Order fail the “unambiguous” restriction because the Order does not make clear to

                                  15   states and local governments what funds are at issue and what conditions apply to those funds,

                                  16   making it impossible for them to “voluntarily and knowingly accept[] the terms of the contract.”

                                  17   NFIB, 132 S. Ct. at 2602.

                                  18                  2.      Nexus Requirement
                                  19          The conditions placed on congressional spending must have some nexus with the purpose

                                  20   of the implicated funds. “Congress may condition grants under the spending power only in ways

                                  21   reasonable related to the purpose of the federal program.” Dole, 483 U.S. at 213. This means that

                                  22   funds conditioned on compliance with Section 1373 must have some nexus to immigration

                                  23   enforcement.

                                  24          The Executive Order’s attempt to condition all federal grants on compliance with Section

                                  25   1373 clearly runs afoul of the nexus requirement: there is no nexus between Section 1373 and

                                  26   most categories of federal funding, including without limitation funding related to Medicare,

                                  27   Medicaid, transportation, child welfare services, immunization and vaccination programs, and

                                  28   emergency preparedness. The Executive Order inverts the nexus requirement, directing the
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                                   1   Attorney General and Secretary to cut off all federal grants to “sanctuary jurisdictions” but giving

                                   2   them discretion to allow “sanctuary jurisdictions” to receive grants “deemed necessary for law

                                   3   enforcement purposes.” EO § 9(a). As the subset of grants “deemed necessary for law

                                   4   enforcement purposes” likely includes any federal funds related to immigration enforcement, the

                                   5   Executive Order expressly targets for defunding grants with no nexus to immigration enforcement

                                   6   at all. This is the precise opposite of what the nexus test requires.

                                   7                  3.      Not Coercive Requirement
                                   8          Finally, Congress cannot use the spending power in a way that compels local jurisdictions

                                   9   to adopt certain policies. Congress cannot offer “financial inducement . . . so coercive as to pass

                                  10   the point at which pressure turns to compulsion.” Dole, 483 U.S. at 211 (internal quotation marks

                                  11   omitted). Legislation that “coerces a State to adopt a federal regulatory system as its own” “runs

                                  12   contrary to our system of federalism.” NFIB, 132 S. Ct. at 2602. States must have a “legitimate
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                                  13   choice whether to accept the federal conditions in exchange for federal funds.” Id. at 2602-2603.

                                  14          In NFIB, the Supreme Court concluded that the Affordable Care Act’s threat of denying

                                  15   Medicaid funds, which constituted over 10 percent of the State’s overall budget, was

                                  16   unconstitutionally coercive and represented a “gun to the head.” Id. at 2604. The Executive Order

                                  17   threatens to deny sanctuary jurisdictions all federal grants, hundreds of millions of dollars on

                                  18   which the Counties rely. The threat is unconstitutionally coercive.

                                  19          C.      Tenth Amendment Violations
                                  20          The Counties argue that Section 9(a) violates the Tenth Amendment because it attempts to

                                  21   conscript states and local jurisdictions into carrying out federal immigration law. The Counties

                                  22   are likely to succeed on this claim as well.

                                  23          “The Federal Government may not compel the States to enact or administer a federal

                                  24   regulatory program.” New York, 505 U.S. at 188. “The Federal Government may neither issue

                                  25   directives requiring the States to address particular problems, nor command the States’ officers, or

                                  26   those of their political subdivisions, to administer or enforce a federal regulatory program.” Printz

                                  27   v. United States, 521 U.S. 898, 935 (1997). “That is true whether Congress directly commands a

                                  28   State to regulate or indirectly coerces a State to adopt a federal regulatory system as its own.”
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                                   1   NFIB, 132 S. Ct. at 2602.

                                   2          As discussed with regard to the Counties’ standing arguments, the Counties have

                                   3   demonstrated that under their reasonable interpretation, the Order equates “sanctuary

                                   4   jurisdictions” with “any jurisdiction that ignored or otherwise failed to honor any detainers” and

                                   5   therefore places such jurisdictions at risk of losing all federal grants. See EO §9(b). The Counties

                                   6   have shown that losing all of their federal grant funding would have significant effects on their

                                   7   ability to provide services to their residents and that they may have no legitimate choice regarding

                                   8   whether to accept the government’s conditions in exchange for those funds. To the extent the

                                   9   Executive Order seeks to condition all federal grants on honoring civil detainer requests, it is

                                  10   likely unconstitutional under the Tenth Amendment because it seeks to compel the states and local

                                  11   jurisdictions to enforce a federal regulatory program through coercion.

                                  12          Even if the Order does not condition federal grants on honoring detainer requests, it
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                                  13   certainly seeks to compel states and local jurisdictions to comply with civil detainers by directing

                                  14   the Attorney General to “take appropriate enforcement action against any entity that violates 8

                                  15   U.S.C. 1373, or which has in effect a statute, policy, or practice that prevents or hinders the

                                  16   enforcement of Federal law.” EO §9(a). Although the Order provides no further clarification on

                                  17   what this “enforcement” might entail or what policies might “hinder[] the enforcement of Federal

                                  18   law,” Attorney General Sessions, who is tasked with implementing this provision, has equated

                                  19   failure to honor civil detainer requests with policies that “frustrate th[e] enforcement of

                                  20   immigration laws.” See Sessions Press Conference at 2. Reading the Order in light of the

                                  21   Attorney General’s public statements, it threatens “enforcement action” against any jurisdiction

                                  22   that refuses to comply with detainer requests or otherwise fails to enforce federal immigration law.

                                  23   While this threat of “enforcement” is left vague and unexplained, “enforcement” by its own

                                  24   definition means to “compel[] compliance.” See BLACK’S LAW DICTIONARY 645 (10th ed. 2014)

                                  25   (defining “enforcement” as “The act or process of compelling compliance with a law, mandate,

                                  26   command, decree, or agreement.”) By seeking to compel states and local jurisdictions to honor

                                  27   civil detainer requests by threatening enforcement action, the Executive Order violates the Tenth

                                  28   Amendment’s provisions against conscription.
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                                   1          The Supreme Court has repeatedly held that, “The Federal Government cannot compel the

                                   2   States to enact or administer a federal regulatory program.” New York, 505 U.S. at 188. The

                                   3   Government cannot command them to adopt certain policies, id. at 188, command them to carry

                                   4   out federal programs, Printz, 521 U.S. at 935, or otherwise to “coerce them into adopting a federal

                                   5   regulatory system as their own,” NFIB, 132 S. Ct. at 2602. The Executive Order uses coercive

                                   6   means in an attempt to force states and local jurisdictions to honor civil detainer requests, which

                                   7   are voluntary “requests” precisely because the federal government cannot command states to

                                   8   comply with them under the Tenth Amendment. The Executive Order attempts to use coercive

                                   9   methods to circumvent the Tenth Amendment’s direct prohibition against conscription. While the

                                  10   federal government may incentivize states to adopt federal programs voluntarily, it cannot use

                                  11   means that are so coercive as to compel their compliance. The Executive Order’s threat to pull all

                                  12   federal grants from jurisdictions that refuse to honor detainer requests or to bring “enforcement
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                                  13   action” against them violates the Tenth Amendment’s prohibitions against commandeering.

                                  14          D.       Fifth Amendment Void for Vagueness
                                  15          The Counties assert that the Executive Order is unconstitutionally vague in violation of the

                                  16   Fifth Amendment’s Due Process Clause. A law is unconstitutionally vague and void under the

                                  17   Fifth Amendment if it fails to make clear what conduct it prohibits and if it fails to lay out clear

                                  18   standards for enforcement. See Gaynard v. City of Rockford, 408 U.S. 104, 108 (1972). To

                                  19   satisfy due process we insist that laws (1) “give the person of ordinary intelligence a reasonable

                                  20   opportunity to know what is prohibited, so that he may act accordingly” and (2) “provide explicit

                                  21   standards for those who apply them.” Id. The Executive Order does not meet either of these

                                  22   requirements.

                                  23          The Executive Order does not make clear what conduct might subject a state or local

                                  24   jurisdiction to defunding or enforcement action, making it impossible for jurisdictions to

                                  25   determine how to modify their conduct, if at all, to avoid the Order’s penalties. The Order clearly

                                  26   directs the Attorney General and Secretary to ensure that jurisdictions that “willfully refuse to

                                  27   comply” with Section 1373, “sanctuary jurisdictions,” are not eligible to receive federal grants.

                                  28   The Government repeatedly emphasizes in its briefing that it does not know what it means to
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                                   1   “willfully refuse to comply” with Section 1373. See, SC Oppo. at 11. Past DOJ guidance and

                                   2   various court cases interpreting Section 1373 have not reached consistent conclusions as to what

                                   3   1373 requires. In the face of conflicting guidance, and no clear standard from the Government,

                                   4   jurisdictions do not know how to avoid the Order’s defunding penalty.

                                   5           Further, because the Order does not clearly define “sanctuary jurisdictions” the conduct

                                   6   that will subject a jurisdiction to defunding under the Order is not fully outlined. This is further

                                   7   complicated because the Order gives the Secretary unlimited discretion to make “sanctuary

                                   8   jurisdiction” designations. But, at least as of two months ago, the Secretary himself stated that he

                                   9   “do[esn’t] have a clue” how to define “sanctuary city.” Harris Decl. ex. D (Dep’t of Homeland

                                  10   Sec., Pool Notes from Secretary Kelly’s Trip to San Diego, Feb. 10, 2017) at 3 (SC Dkt. No. 36-

                                  11   4). If the Secretary has unbounded discretion to designate “sanctuary jurisdictions” but has no

                                  12   idea how to define that term, states and local jurisdictions have no hope of deciphering what
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                                  13   conduct might result in an unfavorable “sanctuary jurisdiction” designation.

                                  14           In addition, the Order directs the Attorney General to take “appropriate enforcement

                                  15   action” against any jurisdiction that willfully refuses to comply with Section 1373 or otherwise

                                  16   has a policy or practice that “hinders the enforcement of Federal law.” This provision vastly

                                  17   expands the scope of the Order. What does it mean to “hinder” the enforcement of federal law?

                                  18   What federal law is at issue: immigration laws? All federal laws? The Order offers no

                                  19   clarification.

                                  20           The Order also fails to provide clear standards to the Secretary and the Attorney General to

                                  21   prevent “arbitrary and discriminatory enforcement.” Id. As discussed above, the Order gives the

                                  22   Secretary discretion to designate jurisdictions as “sanctuary jurisdictions” to the extent consistent

                                  23   with law. But there are no laws, besides the Order, outlining what a sanctuary jurisdiction is,

                                  24   leaving the Secretary with unfettered discretion and the Order’s vague language to make

                                  25   “sanctuary jurisdiction” designations. Similarly, the Order directs the Attorney General to take

                                  26   “appropriate enforcement action” against any jurisdiction that “hinders the enforcement of Federal

                                  27   law.” This expansive, standardless language creates huge potential for arbitrary and

                                  28   discriminatory enforcement, leaving the Attorney General to figure out what “appropriate
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                                   1   enforcement action” might entail and what policies and practices might “hinder[] the enforcement

                                   2   of Federal law.” This language is “so standardless that it authorizes or encourages seriously

                                   3   discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304 (2008).

                                   4          The Order gives the Counties no clear guidance on how to comply with its provisions or

                                   5   what penalties will result from non-compliance. Its standardless guidance and enforcement

                                   6   provisions are also likely to result in arbitrary and discriminatory enforcement. It does not “give

                                   7   the person of ordinary intelligence a reasonable opportunity to know what is prohibited, so that he

                                   8   may act accordingly.” Gaynard, 408 U.S. at 108. The Counties are likely to succeed in their

                                   9   argument that Section 9(a) is void for vagueness under the Fifth Amendment.

                                  10          E.      Fifth Amendment Procedural Due Process Violations
                                  11          The Counties assert that the Executive Order fails to provide them with procedural due

                                  12   process in violation of the Fifth Amendment. To sustain a valid procedural due process claim a
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                                  13   person must demonstrate that he has a legally protectable property interest and that he has suffered

                                  14   or will suffer a deprivation of that property without adequate process. See Thorton v. City of St.

                                  15   Helens, 425 F.3d 1158, 1164 (9th Cir. 2005).

                                  16          To have a legitimate property interest, a person “must have more than a unilateral

                                  17   expectation of it. He must, instead, have a legitimate claim of entitlement to it.” Bd. of Regents v.

                                  18   Roth, 408 U.S. 564, 577 (1972). A state or local government has a legitimate claim of entitlement

                                  19   to congressionally appropriated funds, which are akin to funds owed on a contract. See NFIB, 132

                                  20   S. Ct. at 2602 (“The legitimacy of Congress’ power to legislate under the spending power [] rests

                                  21   on whether the State voluntarily and knowingly accepts the terms of the ‘contract.’ ”). The

                                  22   Counties have a legitimate property interest in federal funds that Congress has already

                                  23   appropriated and that the Counties have accepted.

                                  24          The Executive Order purports to make the Counties ineligible to receive these funds

                                  25   through a discretionary and undefined process. The Order directs the Attorney General and

                                  26   Secretary to designate various states and local jurisdictions as “sanctuary jurisdictions,” ensure

                                  27   that such jurisdictions are “not eligible” to receive federal grants, and “take enforcement action”

                                  28   against them. EO §9(a). It does not direct the Attorney General or Secretary to provide
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                                   1   “sanctuary jurisdictions” with any notice of an unfavorable designation or impending cut to

                                   2   funding. And it does not set up any administrative or judicial procedure for states and local

                                   3   jurisdictions to be heard, to challenge enforcement action, or to appeal any action taken against

                                   4   them under the Order. This complete lack of process violates the Fifth Amendment’s due process

                                   5   requirements. Matthew v. Eldridge, 424 U.S. 319, 349 (1976) (“The essence of due process is the

                                   6   requirement that a person in jeopardy of serious loss be given notice of the case against him and

                                   7   opportunity to meet it.”) (internal alterations and quotations omitted).

                                   8          The Government’s only defense of the Order’s lack of process is to claim that Section 9’s

                                   9   provision that it be implemented “consistent with law” reads in all necessary procedural

                                  10   requirements. Again, the Government’s attempt to resolve all of the Order’s constitutional

                                  11   infirmities with a “consistent with law” bandage is not convincing. There is no dispute that while

                                  12   the Order commands the Secretary to designate certain jurisdictions as ineligible for federal grants
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                                  13   and directs the Attorney General to bring an “enforcement action” against them, it provides no

                                  14   process at all for notifying jurisdictions about such a determination and provides them no

                                  15   opportunity to be heard. The Counties are likely to succeed on their claim that the Order fails to

                                  16   provide adequate due process in violation of the Fifth Amendment.

                                  17   III.    IRREPARABLE HARM
                                  18          The Counties assert that, absent an injunction enjoining Section 9, they are likely to suffer

                                  19   irreparable harm resulting from their current budget uncertainty. Alternatively, they argue that

                                  20   they are suffering a constitutional injury, as the Order improperly seeks to coerce them into

                                  21   changing their policies in violation of the Tenth Amendment. The Counties have adequately

                                  22   demonstrated that they are likely to suffer irreparable harm under both of these theories.

                                  23          A.      Budgetary Uncertainty
                                  24          The Counties allege that they are currently suffering irreparable injury resulting from the

                                  25   substantial uncertainty caused by the Order’s unclear terms and its broad and undefined scope. As

                                  26   discussed above, this uncertainty is causing the Counties present injury sufficient to satisfy Article

                                  27   III’s standing requirements. See discussion supra Section I.A.2.d.

                                  28          This budget uncertainty is also causing the Counties irreparable harm, and it will continue
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                                   1   to do so absent an injunction. The Order’s uncertainty interferes with the Counties’ ability to

                                   2   budget, plan for the future, and properly serve their residents. Without clarification regarding the

                                   3   Order’s scope or legality, the Counties will be obligated to take steps to mitigate the risk of losing

                                   4   millions of dollars in federal funding, which will include placing funds in reserve and making cuts

                                   5   to services. These mitigating steps will cause the Counties irreparable harm. See United States v.

                                   6   North Carolina, 192 F. Supp. 3d 620, 629 (M.D.N.C. 2016) (there was irreparable harm where the

                                   7   unavailability of funds was “likely to have an immediate impact on [the state’s] ability to provide

                                   8   critical resources to the public, causing damage that would persist regardless of whether funding

                                   9   [was] subsequently reinstated”).

                                  10          Although Government counsel has represented that the Order will be implemented

                                  11   consistent with law, this assurance is undermined by Section 9(a)’s clearly unconstitutional

                                  12   directives. Further, through public statements, the President and Attorney General have appeared
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                                  13   to endorse the broadest reading of the Order. Is the Order merely a rhetorical device, as counsel

                                  14   suggested at the hearing, or a “weapon” to defund the Counties and those who have implemented a

                                  15   different law enforcement strategy than the Government currently believes is desirable? The

                                  16   result of this schizophrenic approach to the Order is that the Counties’ worst fears are not allayed

                                  17   and the Counties reasonably fear enforcement under the Order.

                                  18          The Order’s broad directive and unclear terms, and the President’s and Attorney General’s

                                  19   endorsement of them, has caused substantial confusion and justified fear among states and local

                                  20   jurisdictions that they will lose all federal grant funding at the very least. The threat of the Order

                                  21   and the uncertainty it is causing impermissibly interferes with the Counties’ ability to operate, to

                                  22   provide key services, to plan for the future, and to budget. The Counties have established that,

                                  23   absent an injunction, they are likely to suffer irreparable harm.

                                  24          B.      Constitutional Injury
                                  25          The Counties also argue that they are likely to suffer irreparable harm because the

                                  26   Executive Order contravenes the separation of powers, conscripts the Counties to carry out federal

                                  27   immigration enforcement policies, and seeks to coerce the Counties into changing their local

                                  28   policies by imposing overwhelming financial penalties without due process. This “constitutional
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                                   1   injury” also constitutes irreparable harm.

                                   2          The Ninth Circuit has repeatedly held that “the deprivation of constitutional rights

                                   3   ‘unquestionably constitutes irreparable injury.’ ” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th

                                   4   Cir. 2012); Rodriguez v. Robbins, 715 F.3d 1127, 1144-45 (9th Cir. 2013). A plaintiff can suffer a

                                   5   constitutional injury by being forced to comply with an unconstitutional law or else face financial

                                   6   injury or enforcement action. See Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d

                                   7   1046, 1058-59 (9th Cir. 2009) (plaintiffs were injured where they were faced with the choice of

                                   8   signing unconstitutional agreements or facing a loss of customer goodwill and significant

                                   9   business). The Supreme Court has similarly indicated that plaintiffs suffer irreparable injury

                                  10   under such circumstances. See Morales v. Trans World Airlines, Inc., 504 U.S. 374, 380-381

                                  11   (1992) (injunctive relief was available where “respondents were faced with a Hobson’s choice:

                                  12   continually violate the Texas law and expose themselves to potentially huge liability; or violate
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                                  13   the law once as a test case and suffer the injury of obeying the law during the pendency of the

                                  14   proceedings and any further review”). Where an executive action causes constitutional injuries,

                                  15   injunctive relief is appropriate. See Washington v. Trump, 847 F.3d 1151, 1169 (9th Cir. 2017)

                                  16   (refusing to stay a preliminary injunction on Executive Order 13769 and reaffirming that a

                                  17   “deprivation of constitutional rights unquestionably constitutes irreparable injury”).

                                  18          The Counties currently must choose either to attempt to comply with the Executive Order,

                                  19   which they have alleged is unconstitutional under the Constitution’s separation of powers

                                  20   structures and violates their Tenth and Fifth Amendment rights, or to defy the Order and risk

                                  21   losing hundreds of millions of dollars in federal grants. By forcing the Counties to make this

                                  22   unreasonable choice, the Order results in a constitutional injury sufficient to establish standing and

                                  23   irreparable harm.

                                  24          The Government argues that while a “deprivation of constitutional rights unquestionably

                                  25   constitutes irreparable injury,” the Counties have not alleged a “deprivation” of their constitutional

                                  26   rights but have instead alleged a violation of the constitutional structures that govern relationships

                                  27   among the branches of the Federal Government. It asserts that there is a distinction between

                                  28   violations of personal constitutional rights and violations of structural provisions. See N.Y. State
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                                   1   Rest. Ass’n v. N.Y. City Bd. of Health, 545 F. Supp. 2d 363, 367 (S.D.N.Y. 2008) (“[W]hile a

                                   2   violation of constitutional rights can constitute per se irreparable harm . . . per se irreparable harm

                                   3   is caused only by violations of ‘personal’ constitutional rights . . . to be distinguished from

                                   4   provisions of the Constitution that serve ‘structural’ purposes, like the Supremacy Clause.”).

                                   5           This argument fails for two reasons. First, this distinction between personal and structural

                                   6   constitutional rights is not recognized in the Ninth Circuit. Although the Government cites to

                                   7   American Trucking Ass’ns v. City of Los Angeles, 577 F. Supp. 2d 1110, 1127 (C.D. Cal. 2008) for

                                   8   the proposition that “in the case of Supremacy Clause violations,” the presumption of irreparable

                                   9   harm “is not necessarily warranted,” that case was reversed by the Ninth Circuit. On appeal the

                                  10   court concluded that, even where the constitutional injury is structural, “the constitutional

                                  11   violation alone, coupled with the damages incurred, can suffice to show irreparable harm.”

                                  12   American Trucking, 559 F.3d at 1058. Second, the Counties have alleged a deprivation of their
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                                  13   personal constitutional rights; they have alleged that the Executive Order is unconstitutionally

                                  14   coercive in violation of the Tenth Amendment and fails to provide them with Due Process in

                                  15   violation of the Fifth Amendment. The Government’s challenges to the Counties’ claims of

                                  16   constitutional injury are not supported by the facts of this case or the precedent that is binding on

                                  17   this court.

                                  18           The Counties have adequately demonstrated a constitutional injury sufficient to establish a

                                  19   likelihood of irreparable harm.

                                  20   IV.     BALANCE OF HARMS AND PUBLIC INTEREST
                                  21           A party seeking a preliminary injunction must “establish . . . that the balance of equities

                                  22   tips in his favor, and that an injunction is in the public interest.” Winter, 555 U.S. at 20. When the

                                  23   federal government is a party, these factors merge. Nken v. Holder, 556 U.S. 418, 435 (2009).

                                  24           The Government argues that the balance of harms and the public interest weigh against a

                                  25   preliminary injunction because the “most pertinent and concretely expressed public interest” in

                                  26   this case is contained in Section 1373, and Section 9 simply seeks to ensure compliance with that

                                  27   section. This argument is unconvincing given the Government’s flawed argument that Section 9

                                  28   does not change the law. If Section 9 does not change the law, or if the Government does not
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                                   1   intend to enforce Section 9’s unlawful directives, then it provides the Government with no

                                   2   concrete benefit but to highlight the President’s enforcement priorities. The President certainly

                                   3   has the right to use the bully pulpit to encourage his policies. But Section 9(a) is not simply

                                   4   rhetorical. The Counties have a strong interest in avoiding unconstitutional federal enforcement

                                   5   and the significant budget uncertainty that has resulted from the Order’s broad and threatening

                                   6   language. To the extent the Government wishes to use all lawful means to enforce 8 U.S.C. 1373,

                                   7   it does not need Section 9(a) to do so. The confusion caused by Section 9(a)’s facially

                                   8   unconstitutional directives and its coercive effects weigh heavily against leaving it in place. The

                                   9   balance of harms weighs in favor of an injunction.

                                  10   V.     NATIONWIDE INJUNCTION
                                  11          The Government argues that, if an injunction is issued, it should be issued only with

                                  12   regards to the plaintiffs and should not apply nationwide. But where a law is unconstitutional on
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                                  13   its face, and not simply in its application to certain plaintiffs, a nationwide injunction is

                                  14   appropriate. See Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (“[T]he scope of injunctive

                                  15   relief is dictated by the extent of the violation established, not by the geographical extent of the

                                  16   plaintiff.”); Washington, 847 F.3d at 1166-67 (affirming nationwide injunction against executive

                                  17   travel ban order). The Counties have demonstrated that they are likely to succeed on their claims

                                  18   that the Executive Order purports to wield powers exclusive to Congress, and violates the Tenth

                                  19   and Fifth Amendments. These constitutional violations are not limited to San Francisco or Santa

                                  20   Clara, but apply equally to all states and local jurisdictions. Given the nationwide scope of the

                                  21   Order, and its apparent constitutional flaws, a nationwide injunction is appropriate.

                                  22   VI.    INJUNCTION AGAINST THE PRESIDENT
                                  23          The Government also argues that, if an injunction is issued, it should not issue against the

                                  24   President. An injunction against the President personally is an “extraordinary measure not lightly

                                  25   to be undertaken.” Swan v. Clinton, 100 F.3d 973, 978 (D.C. Cir. 1996); see Newdow v. Bush, 391

                                  26   F. Supp. 2d 95, 106 (D.D.C. 2005) (“[T]he Supreme Court has sent a clear message that an

                                  27   injunction should not be issued against the President for official acts.”). The Counties assert that

                                  28   the court “has discretion to determine whether the constitutional violations in the Executive Order
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                                   1   may be remedied by an injunction against the named inferior officers, or whether this is an

                                   2   extraordinary circumstance where injunctive relief against the President himself is warranted.”

                                   3          I conclude that an injunction against the President is not appropriate. The Counties seek to

                                   4   enjoin the Executive Order which directs the Attorney General and the Secretary to carry out the

                                   5   provisions of Section 9. The President has no role in implementing Section 9. It is not clear how

                                   6   an injunction against the President would remedy the constitutional violations the Counties have

                                   7   alleged. On these facts, the extraordinary remedy of enjoining the President himself is not

                                   8   appropriate.

                                   9                                            CONCLUSION

                                  10          The Counties have demonstrated that they are likely to succeed on the merits of their

                                  11   challenge to Section 9(a) of the Executive Order, that they will suffer irreparable harm absent an

                                  12   injunction, and that the balance of harms and public interest weigh in their favor. The Counties’
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                                  13   motions for a nationwide preliminary injunction, enjoining enforcement of Section 9(a), are

                                  14   GRANTED. The defendants (other than the President) are enjoined from enforcing Section 9(a)

                                  15   of the Executive Order against jurisdictions they deem as sanctuary jurisdictions. This injunction

                                  16   does not impact the Government’s ability to use lawful means to enforce existing conditions of

                                  17   federal grants or 8 U.S.C. 1373, nor does it restrict the Secretary from developing regulations or

                                  18   preparing guidance on designating a jurisdiction as a “sanctuary jurisdiction.”

                                  19          IT IS SO ORDERED.

                                  20   Dated: April 25, 2017

                                  21

                                  22
                                                                                                    William H. Orrick
                                  23                                                                United States District Judge
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